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12
                      UNITED STATES DISTRICT COURT
13                   EASTERN DISTRICT OF WASHINGTON
14                              AT YAKIMA

15   STATE OF WASHINGTON, et al.,                NO. 1:20-cv-03127-SAB
16                      Plaintiffs,              PLAINTIFFS’ MOTION FOR
                                                 PRELIMINARY INJUNCTION
17        v.
18                                               NOTED FOR: September 17,
     DONALD J. TRUMP, et al.,                    2020 at 10:00 a.m.
19                                               With Oral Argument
                        Defendants.
20

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                                                            ATTORNEY GENERAL OF WASHINGTON
       PLAINTIFFS’ MOTION FOR                                    Complex Litigation Division
       PRELIMINARY INJUNCTION                                    800 Fifth Avenue, Suite 2000
                                                                     Seattle, WA 98104
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 1                                I.     INTRODUCTION
 2         The United States Postal Service is an essential American institution,
 3   authorized by the Constitution, created by the first Congress, serving every part of
 4   our country, and overwhelmingly admired by Americans of every background. It
 5   is woven into the fabric of American life, reliably delivering our correspondence,
 6   our medications, our payments, and, increasingly, our ballots.
 7         Because the Postal Service plays such a vital role, Congress has long
 8   required that any significant change in postal services undergo a thorough review
 9   by the Postal Regulatory Commission and include an opportunity for public
10   comment before taking effect. 39 U.S.C. § 3661. This process helps to ensure that
11   changes are fully thought through and to avoid unintended consequences.
12         Ignoring this requirement, newly appointed Postmaster General Louis
13   DeJoy has made a number of precipitous changes that, by his own admission, have
14   significantly affected postal service. While DeJoy claimed to halt some of these
15   changes—such as the removal of mail sorting equipment—the day the Plaintiff
16   States filed this lawsuit, he has persisted with at least two others.
17         First, DeJoy adopted and continues to enforce a “Leave Mail Behind”
18   policy, requiring mail carriers and delivery trucks to leave at set times, regardless
19   of whether the mail is actually ready, and prohibiting letter carriers from making
20   return trips to distribution centers as necessary to complete timely mail delivery.
21   This policy has slowed mail delivery substantially nationwide.
22         Second, although an unprecedented number of citizens will rely on voting
23   by mail this year, DeJoy has abandoned the Postal Service’s longstanding
24   commitment to treat all Election Mail under First Class delivery standards. This
25   will mean that ballots, registration forms, and other Election Mail that States send
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 1   to voters will be delivered much more slowly than in the past. The Postal Service
 2   itself has threatened nearly every State that this may disenfranchise some voters.
 3         Under the plain language of 39 U.S.C. § 3661, the Postal Service had to
 4   submit these changes to the Postal Regulatory Commission prior to implementing
 5   them. This never happened.
 6         These changes also violate the Constitution, which guarantees to States the
 7   power to regulate elections and to individuals the right to vote. Without any
 8   compelling or even meaningful justification, DeJoy’s changes interfere with State
 9   authority to administer elections and threaten broad disenfranchisement.
10         The changes are not only illegal, but are also causing irreparable harm,
11   including delays in delivery of time-sensitive materials from medications to legal
12   notices to ballots. There is no meaningful justification for these harms, so the
13   public interest and equities tip sharply in the States’ favor. The States therefore
14   respectfully ask that this Court issue a preliminary injunction barring continued
15   implementation of these changes before they can further interfere with Americans’
16   daily lives and the November 2020 election.
17                            II.   STATEMENT OF FACTS
18
     A.    The Postal Service’s Statutory Duty to Provide Efficient Mail Service
19         and the Statutory Prerequisites for Service Changes
20         The Postal Service is a “basic and fundamental service provided to the
21   people . . . , authorized by the Constitution, created by Act of Congress, and
22   supported by the people,” obliged to “bind the Nation together through the
23   personal, educational, literary and business correspondence of the people.”
24   39 U.S.C. § 101(a). It delivers over 470 million pieces of mail each day and must
25   serve “as nearly as practicable the entire population of the United States.”
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                                                               ATTORNEY GENERAL OF WASHINGTON
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 1   39 U.S.C. § 403.1 In setting policies, the Postal Service shall “give the highest
 2   consideration to the requirement for the most expeditious collection, transportation,
 3   and delivery of important letter mail.” Id. § 101(e) (emphasis added); see also id.
 4   § 3691(b) (service standards must “reasonably assure . . . delivery reliability,
 5   speed and frequency consistent with reasonable rates and best business practices”);
 6   id. § 403 (Postal Service must “plan, develop, promote, and provide adequate and
 7   efficient postal services”).
 8         When the Postal Service determines that there should be “a change in the
 9   nature of postal services which will generally affect service on a nationwide or
10   substantially nationwide basis, it shall submit a proposal, within a reasonable time
11   prior to the effective date of such proposal, to the Postal Regulatory Commission
12   requesting an advisory opinion on the change.” Id. § 3661(b) (emphasis added).
13   Following a hearing at which the interests of users of the mail and the general
14   public are represented, the Commission issues a written opinion under the Postal
15   Service’s guiding policies. Id. § 3661(c).
16         The Postal Service’s mandate has taken on even greater significance during
17   the COVID-19 pandemic. More people have opted to obtain prescription
18   medications by mail.2 And many States expect a record-breaking volume of mail-in
19   voting for the November 2020 election.3 Roughly three-quarters of all
20

21         1
               Postal Facts: One Day, USPS.com, https://facts.usps.com/one-day/.
22         2
               Jared S. Hopkins, Mail-Order Drug Delivery Rises During Coronavirus
23   Lockdown, Wall St. J. (May 12, 2020), https://on.wsj.com/355Bc2V.
24         3
               Juliette Love, Matt Stevens & Lazaro Gamio, Where Americans Can Vote
25   by Mail in the 2020 Election, N.Y. Times (updated Aug. 14, 2020),
26   https://nyti.ms/3g73JH4.

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 1   voters—over 160 million people—are eligible to receive a ballot by mail for the
 2   2020 general election.4 States have already experienced surges in vote-by-mail
 3   ballot requests and historic levels of mail-in voting during recent primaries. See,
 4   e.g., Benson Decl. ¶¶ 14–15; Gough Decl. ¶¶ 12–14; Merrill Decl. ¶ 13; Piper Decl.
 5   ¶¶ 15–16; Rock Decl. ¶ 23; Simon Decl. ¶ 7; Yarbrough Decl. ¶¶ 12–14.
 6
     B.    Recent “Transformative” Changes Affecting Postal Service Levels
 7         Nationwide, Made Without Notice and Hearing
 8         1.        The July 2020 “Leave Mail Behind” policy
 9                   a.   The policy is made effective without notice and hearing
10         Louis DeJoy became Postmaster General in June 2020. In July, he
11   announced “immediate, lasting, and impactful changes in our operations and our
12   culture”—changes he later described as “transformative”—without submitting a
13   proposal to the Postal Regulatory Commission for a hearing.5 The Postal Service
14   warned that the changes would be “challenging, as we seek to change our culture
15   and move away from past practices.”6 They were made a few months before a
16   presidential election and in the middle of a global pandemic, with no analysis on
17   how they would affect voters or people relying on delivery of time-critical items.7
18

19         4
               Id.
20         5
                Mandatory Stand-Up Talk: All Employees, July 10, 2020 (Ex. A);
21   Protecting the Timely Delivery of Mail, Medicine, and Mail-in Ballots, U.S. House
22   Comm. on Oversight & Reform, Aug. 24, 2020, https://bit.ly/2EsSDPW (“House
23   Testimony”) (video at 4:43:45); see generally 39 U.S.C. § 3661(b).
24         6
               Mandatory Stand-Up Talk, supra n.5 (Ex. A).
25         7
               Examining the Finances and Operations of the U.S. Postal Service During
26   COVID-19 and Upcoming Elections, U.S. Senate Comm. on Homeland Sec. &

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 1         The new policy mandates that all trips, including delivery and to processing
 2   centers, must depart on time; that late trips and extra trips are “no longer authorized
 3   or accepted”; and that mail carriers “must begin on time, leave for the street on
 4   time, and return on time.”8 Mail carriers are instructed to leave mail behind on the
 5   workroom floor if taking that mail would require them to leave later than
 6   scheduled.9 DeJoy justified the “Leave Mail Behind” policy based on an Office of
 7   the Inspector General report that 20% of transportation trips left mail processing
 8   facilities late.10 But this report did not recommend eliminating late trips; it instead
 9   offered five recommendations to improve efficiency and management oversight.11
10         The memorandum outlining these changes admitted that they would likely
11   result in delays: “One aspect of these changes that may be difficult for employees
12   is that—temporarily—we may see mail left behind or mail on the workroom floor
13   or docks . . . which is not typical.”12 According to an internal Postal Service
14   document: “If we cannot deliver all the mail due to call offs or shortage of people
15   and you have no other help, the mail will not go out[.]”13
16

17   Gov’t Affairs, Aug. 21, 2020, https://bit.ly/2QoXAM9 (“Senate Testimony”)
18   (video at 1:21:15).
19         8
               Mandatory Stand-Up Talk, supra n.5 (Ex. A).
20         9
               Id.; PMGs Expectations and Plan (July 2020) (Ex. B).
21         10
                House Testimony, supra n.5 (video at 39:40)
22         11
                U.S. Postal Service’s Processing Network Optimization and Service
23   Impacts,     USPS     Office   of   the   Inspector   General      (June     16,     2020),
24   https://bit.ly/32f4RoB (Ex. C).
25         12
                Mandatory Stand-Up Talk, supra n.5 (Ex. A).
26         13
                PMGs Expectations and Plan, supra n.9 (Ex. B).

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 1         Reports from across the country confirm that this policy is being
 2   implemented and is delaying delivery. People have reported delays in receiving
 3   time-sensitive medications, businesses that rely on the mail have reported delays
 4   harming their finances, and state agencies have seen delays in delivery of important
 5   documents and benefits.14 In Tennessee, trucks are leaving sorting facilities for
 6   cross-country trips “completely empty,” because the new policy “will not allow
 7   holding a truck for even five minutes so it can be loaded with mail.”15 As one postal
 8   worker in Nashville noted, Express and Priority Mail—including time-critical
 9   items such as legal documents and cremated remains—are being left behind
10   because trucks have already left.16
11         Explaining the on-the-ground changes wrought by this policy, experienced
12   postal workers in several States testify that, previously, mail carriers would pick
13   up outgoing mail and bring it back to the station, where it would be put on a truck
14   to a regional processing center that evening to be postmarked and sorted. See Yao
15   Decl. ¶ 4; Cogan Decl. ¶ 13. But since DeJoy’s changes, trucks must leave by a
16

17         14
                See, e.g., Dart Decl. ¶¶ 9–11; Geissel Decl. ¶ 6; Hermes Decl. ¶¶ 7–8;
18   Livermore Decl. ¶¶ 4–6; Okanlawon Decl. ¶¶ 6–8; Olsen Decl. ¶ 11; Sturdivant
19   Decl. ¶ 4; White Decl. ¶ 4 (prescription delays); Rosenbaum Decl. ¶ 13; Rumbley
20   Decl. ¶¶ 4–5 (other mail delays); Davidson Decl. ¶¶ 6–12; Mitchell Decl. ¶ 6;
21   Stembridge Decl. ¶ 8; Williams Decl. ¶ 5 (harms to business and finances); Cully
22   Decl. ¶ 6; Huff Decl. ¶¶ 5–6; Peterson Decl. ¶ 6 (harms to state agencies).
23         15
                Ben Hall & Kevin Wisniewski, Postal trucks sometimes travel across
24   country - with no mail - after USPS cuts, News Channel 5 (Aug. 24, 2020),
25   https://bit.ly/3lVQg9i.
26         16
                Id.

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 1   firm deadline, without exception—both to take outgoing mail to a processing
 2   center at the end of the day and to take postmarked, sorted mail to a station for
 3   delivery in the morning. Yao Decl. ¶ 5; Cogan Decl. ¶ 12 Trucks bound for
 4   processing centers no longer have discretion to wait if a mail carrier is about to
 5   return with a large bundle of outgoing mail; trucks leaving processing centers
 6   cannot wait for mail that is nearly ready; in both cases, that mail sits waiting for at
 7   least another day. Yao Decl. ¶¶ 6–8; Cogan Decl. ¶¶ 12–13. These changes were
 8   announced and implemented with “very little notice.” Cogan Decl. ¶ 14.
 9   On-the-ground reports from Michigan, Minnesota, Wisconsin, and other States
10   confirm the same: considerable amounts of mail are left to await the next day’s
11   delivery. See Puhalski Decl. ¶¶ 9–10; Levy Decl. ¶ 14; Anthonasin Decl.
12   ¶¶ 14–21; Hartwig Decl. ¶¶ 5–7.
13         The same day the States filed this lawsuit—August 18, 2020—DeJoy
14   announced the suspension of some operational changes to the Postal Service,
15   including the nationwide removal of hundreds of mail processing and sorting
16   machines, the removal of mail collection boxes, and the reduction in post office
17   retail hours.17 DeJoy’s announcement did not address the “Leave Mail Behind”
18   policy, and he has confirmed that this policy remains in place and will remain in
19   place through the November election.18
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24         17
                See Postmaster General Louis DeJoy Statement, USPS, Aug. 18, 2020,
25   https://bit.ly/320luE4 (Ex. D).
26         18
                See id.; Senate Testimony, supra n.7; House Testimony, supra n.5.

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 1                 b.       The immediate delays caused by the “Leave Mail Behind”
                            policy
 2
           Internal Postal Service documents foresaw that this change would cause
 3
     delays, but assured that it would “address root causes of these delays and adjust
 4
     the very next day,” predicting: “As we adjust to the ongoing pivot, which will have
 5
     a number of phases, we know that operations will begin to run more efficiently and
 6
     that delayed mail volumes will soon shrink significantly.”19
 7
           But as DeJoy has since acknowledged, this “transformative” change has
 8
     had—in his own words—“unintended consequences that impacted [the Postal
 9
     Service’s] overall service levels.”20 The Postal Service’s own data vividly display
10
     this. The following charts, from a briefing prepared for DeJoy, show how on-time
11
     delivery, which had remained relatively steady despite the pandemic, plummeted
12
     in the second half of July directly following implementation of the “Leave Mail
13
     Behind” policy: from approximately 92% to 84% for First Class mail, and
14
     approximately 90% to 83% for Marketing Mail.21
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22         19
                Mandatory Stand-Up Talk, supra n.5 (Ex. A).
23         20
                     Path        forward,      LINK            (Aug.         13,          2020),
24   https://link.usps.com/2020/08/13/path-forward-2/ (Ex. E).
25         21
                Service Performance Measurement: PMG Briefing, USPS (Aug. 12,
26   2020), https://bit.ly/359uKb5 (Ex. F).

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11                                         Chart 1
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22                                         Chart 2
23
     DeJoy acknowledged in his Congressional testimony that the “Leave Mail Behind”
24
     policy significantly contributed to this drop.22
25

26         22
                House Testimony, supra n.5 (at 4:45:35–43).

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 1         Data from the first three weeks in August suggest that on-time performance
 2   recovered somewhat from its lowest point in mid-July, but—especially for First
 3   Class mail—remained significantly lower (by at least five percent) when compared
 4   to performance levels before the changes—representing millions of pieces of mail
 5   that no longer arrive at their destinations on time.23
 6

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16                                          Chart 3
17
     As for Election Mail, including ballots, DeJoy told Congress that he was unable to
18
     provide separated performance data.24
19

20

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23         23
                Congressional Briefing: Transportation & Service Performance Updates
24   (Aug. 31, 2020), https://bit.ly/3lYmCjQ (Ex. G).
25         24
                Letter from Louis DeJoy to Chairman Johnson et al. (Aug. 31, 2020),
26   https://bit.ly/3btr319 (Ex. H).

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 1         2.      The Postal Service’s decision to no longer treat election mail as
                   First Class Mail
 2
           In a separate policy change that will substantially slow the delivery of
 3
     Election Mail—such as ballots and voter registration forms—nationwide, the
 4
     Postal Service has decided to no longer treat all Election Mail under First Class
 5
     service standards. According to the former Chair of the Postal Regulatory
 6
     Commission, Ruth Goldway, this represents “a very concerning change in USPS
 7
     policy.” Goldway Decl. ¶ 5.
 8
           Prior to this year, the Postal Service’s longstanding policy has been to handle
 9
     Election Mail under delivery standards applicable to First Class mail, regardless of
10
     the paid rate. Goldway Decl. ¶¶ 7, 9; see also Benson Decl. ¶¶ 9–10 (Michigan
11
     Secretary of State confirming that “[h]istorically, the USPS has worked with the
12
     state and clerks to ensure that election mail is marked and receives expedited
13
     service regardless of the class of mail” and that USPS did not previously ask
14
     Michigan to send voter ballot envelopes by First Class Mail); Griswold Decl. ¶ 13;
15
     Merrill Decl. ¶ 20; Yao Decl. ¶ 9. The Postal Service’s documents confirm this: an
16
     Inspector General’s report on the 2018 election found that 95.6% of election and
17
     political mail was delivered within First Class service standards, and Postal Service
18
     managers confirmed that they treated all Election Mail as First Class mail.25 And
19
     in its discovery responses, the Postal Service admits that it “has several
20
     longstanding practices of prioritizing the expeditious processing and delivery of
21

22

23

24          25
                 Service Performance of Election and Political Mail During the 2018
25   Midterm and Special Elections, USPS Office of the Inspector General (Nov. 4,
26   2019), https://bit.ly/3bxYm2R (Ex. I).

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 1   election mail,” though it nonetheless denies that Election Mail was treated like
 2   First Class mail.26
 3          The Postal Service’s prior policy ensured that Election Mail has historically
 4   been delivered in a timely manner.27 Even though States typically pay the much
 5   lower nonprofit Marketing Mail rates for Election Mail—20 cents compared to
 6   55 cents for First Class—the Postal Service has nonetheless treated that mail under
 7   the considerably faster First Class service standards: 2 to 5 days, rather than 3 to
 8   10 days for Marketing Mail. Goldway Decl. ¶¶ 6–9. The actual distinction is even
 9   greater, because First Class mail is delivered on time at higher rates than Marketing
10   Mail; according to performance reports, between April 1 and June 30, 2020, the
11   Postal Service delivered between 81 and 95 percent of domestic First Class mail
12   on time, and more than 98 percent no more than three days late—meaning that
13   nearly 100 percent of First Class mail was delivered within eight days of mailing.
14   Id. ¶¶ 10–11 & Ex. A. By contrast, as much as 10 percent of Marketing Mail took
15   longer than 13 days to deliver. Id. ¶ 12 & Ex. A. And as the charts above
16   demonstrate, performance has since dropped sharply.28
17          Despite these delays, this year the Postal Service indicated that it will no
18   longer meet First Class service standards for Election Mail unless States pay First
19   Class postage fees, nearly tripling the cost of postage. Goldway Decl. ¶ 4.
20

21          26
                 See Defendants’ Objections and Responses to Plaintiffs’ First Set of
22   Interrogatories and Requests for Production of Documents, at 13 (Interrogatory 5)
23   (Ex. J).
24          27
                 State and Local Election Mail – User’s Guide, USPS (Jan 2020),
25   https://bit.ly/2QWUEX4 (Ex. K).
26          28
                 Service Performance Measurement, supra n.28 (Ex. F).

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 1   In July 2020, the Postal Service warned election officials in 46 States and the
 2   District of Columbia that States must now pay First Class postage to ensure timely
 3   ballot delivery to voters.29 If states choose instead to pay for Marketing Mail, the
 4   Postal Service warned that this “will result in slower delivery times and will
 5   increase the risk that voters will not receive their ballots in time to return them by
 6   mail.”30
 7         During his Congressional testimony, when asked whether the Postal Service
 8   would continue to treat Election Mail under First Class service standards or better,
 9   DeJoy was vague: “Our process is to do that physically . . . First Class mail is a
10   classification of mail, and then we’re talking about a physical process. So, we could
11   advance mail in front of First Class, we’d still not call it First Class mail.”31 Yet
12   DeJoy was unable to provide specific details regarding the Postal Service’s current
13   policy on Election Mail, claiming that the Postal Service was “just putting these
14   committees together,” and he refused to commit to submitting a written statement
15   of policy to Congress.32
16         The Postal Service has since made clear that it will not treat Election Mail
17   as First Class mail.33 This refusal is confirmed by recent internal and public Postal
18

19         29
                Letters from Thomas J. Marshall to States (July 2020), available at:
20   https://wapo.st/2Feeqe3 (Ex. L).
21         30
                See, e.g., Letter from Thomas J. Marshall to Washington Secretary of State
22   Kim Wyman (July 31, 2020) (Ex. M).
23         31
                House Hearing, supra n.5 (video at 3:35:47–3:36:16).
24         32
                Senate Hearing, supra n.7 (video at 1:07:10–1:07:45); House Hearing,
25   supra n.5 (video at 2:57:50–2:58:30, 3:32:20–3:36:24).
26         33
                See Discovery Responses, supra n.26, at 12 (Interrogatory 5) (Ex. J).

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 1   Service documents stating that Election Mail will no longer be treated under First
 2   Class service standards. For example, as of September 9, 2020, the Postal Service
 3   website warned election officials that “[u]sing USPS Marketing Mail® service will
 4   result in slower delivery times and may increase the risk that voters will not
 5   receive their ballots in time[.]”34 An August 13, 2020 internal presentation states
 6   that “Election Mail sent as Marketing Mail is not upgraded to First Class service.”35
 7   In discovery, the Postal Service confirmed that it will not treat Election Mail paid
 8   at the Marketing Rate as First Class Mail, although it represented that it historically
 9   has “[d]evoted excess First-Class Mail processing capacity to election mail” to
10   meet First Class Service standards.36 Of course, this year the Postal Service has
11   substantially reduced its mail processing capacity, further calling into question its
12   ability to follow its past practice.37
13          As of September 9, 2020, DeJoy has not yet submitted a written statement
14   of policy to Congress clarifying the Postal Service’s plans for treatment of Election
15   Mail in the upcoming election, which is now less than eight weeks away.
16

17

18          34
                  Election Mail, USPS.com, https://about.usps.com/what/government-
19   services/election-mail/ (last visited Sept. 9, 2020) (Ex. N) (emphasis added).
20          35
                  AIM Pacific Area Virtual Meeting, USPS (Aug. 13, 2020),
21   https://bit.ly/3lvTS1A (Ex. O).
22          36
                 See Discovery Responses, supra n.26, at 13 (Interrogatory 5) (Ex. J).
23          37
                 See Letter from Rickey R. Dean to Mark Dimondstein (June 17, 2020),
24   available at: https://bit.ly/3m04UMD (identifying over 600 sorting machines to be
25   removed by September 30) (Ex. P); Equipment Reduction (May 15, 2020),
26   available at: https://bit.ly/3m3YyMu (Ex. Q).

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 1         3.       The removal of hundreds of mail processing and sorting machines
 2         Earlier this summer, the Postal Service began to implement plans to remove
 3   more than 600 machines used to organize and sort mail38—each with the capacity
 4   to process tens of thousands of pieces of mail, including ballots, per hour—by the
 5   end of September. Cogan Decl. ¶¶ 8–9; Combs Decl. ¶¶ 5–8; Czubakowski Decl.
 6   ¶¶ 5–10; Levy Decl. ¶¶ 8–10; First Whitney Decl. ¶ 5. This action effectively
 7   decommissions 10 percent of the Postal Service’s sorting machines, with the
 8   combined capacity of sorting 21.4 million pieces of mail per hour.39 Notably, data
 9   analysis shows that the machines removed or scheduled for removal are
10   overwhelmingly located in counties that voted Democratic in the last presidential
11   election. Urizar-Hunter Decl. ¶¶ 10–13. Some of these removals left local
12   processing centers with only one machine available and no redundancy: in New
13   Hampshire, for example, after four sorting machines were taken out of service at
14   the Manchester facility, the facility is forced to halt sorting and delay the
15   processing of mail when the single remaining machine experiences failures.40
16         DeJoy’s August 18, 2020 statement indicated that the Postal Service would
17   suspend further machine removals until after the election, and the Postal Service
18   has since claimed that it attempted to convey this instruction to regional directors
19

20

21

22         38
                Rickey R. Dean Letter, supra n.37 (Ex. P).
23         39
                Jacob Bogage & Christopher Ingraham, Here’s why the Postal Service
24   wanted to remove hundreds of mail-sorting machines, Wash. Post (Aug. 20, 2020),
25   https://wapo.st/35hYUZH.
26         40
                Senate Testimony, supra n.7 (video at 1:08:37).

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 1   and coordinators.41 However, postal workers have observed on the ground that
 2   some machines scheduled for removal continued to be removed even after DeJoy’s
 3   August 18 statement. See Second Whitney Decl. ¶ 6.42
 4         Further, DeJoy acknowledged to Congress that he does not intend to
 5   recommission most of the machines that have already been removed, even if local
 6   facilities request that USPS does so because the facilities need additional capacity.
 7   In his Congressional testimony, when asked if any local facilities had requested
 8   the recommissioning of machines, he responded: “How would I know that?”43 But
 9   in fact, USPS confirmed that it has received multiple requests from local offices to
10

11

12

13         41
                Postmaster General Louis DeJoy Statement, supra n.17 (Ex. D);
14   Discovery Responses, supra n.26, at 5–6 (Interrogatory 1) (Ex. J).
15         42
                Defendants’ interrogatory answer provides the number of machines
16   removed as of August 18, 2020 only. Discovery Responses, supra n.36, at 5
17   (Interrogatory 1) (Ex. J). Defendants marked as “Confidential” the additional
18   information they provided about machines removed from specific locations, and
19   refused to identify any specific removed machines or the dates on which they were
20   removed, claiming this would be “unduly burdensome”—notwithstanding the
21   Court’s finding on August 27, 2020, that Plaintiffs’ discovery requests were
22   “appropriate” and “narrowly focused.” Email from Joseph Borson to Kristin
23   Beneski (Sept. 8, 2020, 5:47 pm) (Ex. R); Hearing Transcript at 29:9–10,
24   Washington v. Trump, No. 20-cv-03127-SAB (excerpts) (Ex. S). Plaintiffs
25   respectfully move to compel a complete response to Interrogatory No. 1.
26         43
                House Testimony, supra n.5 (video at 3:22:10).

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 1   reinstall machines—the precise number and location of which remain unknown—
 2   that it has not yet responded to, despite the imminence of the general election.44
 3
     C.    The Widespread Delays and Ensuing Harms Already Caused by Postal
 4         Service Policy Changes
 5         1.       Residents unable to mail and receive medications and other
                    time-critical items
 6
           The acknowledged delays resulting from the “Leave Mail Behind” policy,
 7
     compounded with the effects of continued machine removals —and implemented
 8
     without opportunity for public feedback—have already harmed Americans
 9
     nationwide. Combined with the lack of commitment to treat all Election Mail under
10
     First Class service standards, these impacts suggest that—unless the Postal Service
11
     changes course—it will not be able to ensure that critical mail is timely delivered
12
     or that every vote is counted in the upcoming election.
13
           States, businesses, agencies, and individuals rely on efficient mail delivery
14
     for time-sensitive items. These include the eighty percent of veterans who receive
15
     their prescription medications from the Department of Veterans Affairs (VA) by
16
     mail—totaling almost 120 million prescriptions a year45—and 7.3 million
17
     Medicare Part D beneficiaries with at least one prescription delivered from a mail-
18
     order pharmacy.46 According to the VA, prescriptions they send out usually arrive
19

20

21         44
                See Discovery Responses, supra n.26, at 6–7 (Interrogatory 1) (Ex. J).
22         45
                VA Office of Inspector General, Audit of Consolidated Mail Outpatient
23   Pharmacy Program, at 19 (Nov. 2, 2016), https://bit.ly/2Dxmo1u.
24         46
                 Juliette Cubanski et al., Mail Delays Could Affect Mail-Order
25   Prescriptions for Millions of Medicare Part D and Large Employer Plan
26   Enrollees, Kaiser Family Foundation (Aug. 20, 2020), https://bit.ly/3h8oGBP.

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 1   within 3 to 5 days.47 But veterans and VA staff report that recently, medications
 2   are taking weeks to be delivered.48 Senator Gary Peters of Michigan has received
 3   hundreds of accounts from veterans impacted by “weeks-long waits for critical
 4   medication.”49 Veterans in the Plaintiff States, who had never before experienced
 5   delays, have been left without critical medications for days or weeks in July and
 6   August, including a two-week delay where the medication spent four days sitting
 7   at a distribution center. Hermes Decl. ¶¶ 6–11; see also Dart Decl. ¶¶ 2–10. Other
 8   Postal Service customers have also experienced unprecedented weeks-long delays
 9   in delivery of vital medications, leaving them without needed medications for
10   dangerous lengths of time. Sturdivant Decl. ¶ 4; Okanlawon Decl. ¶¶ 6–10;
11   Livermore Decl. ¶¶ 2–11; Geissel Decl. ¶¶ 2–14; Olsen Decl. ¶¶ 5–11; White Decl.
12   ¶ 2–5.
13            Small businesses are also suffering from mail delays affecting their ability
14   to receive inventory and fulfill orders—at a time when they are particularly
15   vulnerable and relying on delivery more than ever due to COVID-19. Small
16   businesses often rely on the Postal Service because of its affordable rates and
17   ability to reach all areas. Stembridge ¶ 4; McIntyre Decl. ¶ 6; Mitchell Decl. ¶ 4.
18

19            47
                    VA Prescription Refill and Tracking, Dep’t of Veterans Affairs,
20   https://bit.ly/3bIb7Z7.
21            48
                   See Abbie Bennett, Lawmakers call on USPS Postmaster General to
22   prioritize        veterans,   troops,   ConnectingVets.com        (Aug.       25,      2020),
23   https://bit.ly/3jLxhfu (reporting over 200 veterans and caregivers confirmed
24   medication delivery delays); Letter from Sen. Tester et al. to DeJoy (Aug. 13,
25   2020) (Ex. T).
26            49
                   Letter from Sen. Peters to Hal J. Roesch II (Aug. 13, 2020) (Ex. U).

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 1   They are noticing increasing delays, products going bad in transit because of
 2   delivery delays,50 and lost customers,51 and worry that they will be crippled by an
 3   inability to efficiently fulfill customer orders. Stembridge Decl. ¶¶ 2–12; Davidson
 4   Decl. ¶¶ 2–12; McIntyre ¶ 6–8; Mitchell Decl. ¶¶ 2–8; Williams Decl. ¶¶ 2–11.
 5
           2.      States unable to timely send and receive legally required
 6                 communications for the administration of benefits and other
                   programs
 7
           Mail delays also prevent State governments from making time-critical
 8
     communications with and transmitting benefits to their residents. These include
 9
     notices required by statute for child welfare proceedings, as well as benefits to
10
     which residents are legally entitled and rely on for their basic needs. Federal and
11
     state laws impose strict timelines on processing and delivery of benefits and related
12
     notices. See Tousignant Decl. ¶ 7; Cully Decl. ¶ 7; Lynne Thomas Decl. ¶ 7;
13
     Peterson Decl. ¶ 5; Richards Decl. ¶¶ 5–6. Benefits and notices are delivered
14
     primarily through the Postal Service and serve hundreds of thousands of families,
15
     totaling tens of millions in benefits: from child support to medical coverage to
16
     food, housing, and childcare assistance. Tousignant Decl. ¶¶ 5–6, 9–11; Cully
17
     Decl. ¶¶ 4, 6, 11; Lynne Thomas Decl. ¶¶ 3–4; Bartolomucci Decl. ¶¶ 4, 12,
18
     15–16; Richards Decl. ¶¶ 4, 7, 9. For most of these programs, communication via
19
     mail is either legally required or the only practical option. Tousignant Decl. ¶ 6;
20
     Bartolomucci Decl. ¶¶ 5, 10–13; Cully Decl. ¶¶ 5, 9–10; Lynne Thomas Decl. ¶¶ 5,
21
     10; Cafferata Decl. ¶¶ 3–5, 8; Fisher Decl. ¶ 4–7 (in Nevada, only 1% of recipients
22

23         50
                Luke Broadwater et al., Postal Crisis Ripples Across Nation as Election
24   Looms, N.Y. Times (updated Aug. 18, 2020), https://nyti.ms/3597EkN.
25         51
                Aaron Gordon, The Post Office’s Great Mail Slowdown Is Hurting Small
26   Businesses, Vice (Aug. 4, 2020); https://bit.ly/2R0Kbde.

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 1   opted out of paper mail notification). And given the pandemic and historically high
 2   unemployment, States are serving more first-time recipients, requiring additional
 3   communications. Cafferata Decl. ¶ 6; Fisher Decl. ¶ 11; Richards Decl. ¶ 4.
 4         Mail delays will have cascading and devastating effects on residents who
 5   rely on them for basic needs. As an example, for the Illinois child support program,
 6   which mails approximately 2000 to 3000 notices and 165,000 paper checks per
 7   month totaling approximately $35 million in payments, “any delay—particularly
 8   significant delays—can wreak catastrophic results on” the approximately 640,000
 9   “children who depend on these funds to meet their basic needs[.]” Bartolomucci
10   Decl. ¶¶ 4, 6, 12, 15–16.
11         The States are already experiencing these impacts. Illinois mailed out more
12   than 110,000 food benefit redetermination notices in August, but received only
13   approximately 1500 responses—significantly lower than the typical 60% response
14   rate from prior years. Cully Decl. ¶ 6. Applicants for medical benefits in Illinois
15   have not received requests for additional information on pending applications until
16   after the due date has passed, which can result in denials and breaks in medical
17   coverage. Lynne Thomas Decl. ¶¶ 6, 9, 11. Minnesota has experienced weeks-long
18   delays in delivering unemployment and medical leave paperwork to employees,
19   rendering it difficult to comply with statutory deadlines and denying employers the
20   opportunity to dispute claims; as an employer, the state itself is paying for benefits
21   it would have contested had the Postal Service not delivered unemployment letters
22   after the deadline to respond had passed. Peterson Decl. ¶¶ 2–8, 10, 11–13. The
23   Minnesota Public Health Laboratory—which tests drinking water—has
24   experienced weeklong delays in sample delivery, rendering samples invalid for
25   analysis. Huff Decl. ¶¶ 2–11.
26

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 1         3.       Disenfranchisement of voters caused by mail delays
 2         Election officials in the States are concerned that reductions in service will
 3   disenfranchise voters—and it is a virtual certainty that the November 2020 election
 4   will involve an unprecedented level of mail-in voting. See Merrill Decl. ¶¶ 10–11,
 5   13; Winters Decl. ¶ 9; Gough Decl. ¶¶ 11–14; Simon Decl. ¶¶ 7–8; Yarborough
 6   Decl. ¶¶ 11–14; Benson Decl. ¶¶ 14–15; Piper Decl. ¶¶ 13–16; Rock Decl.
 7   ¶¶ 6–7.52 This is especially concerning for homebound voters, such as the elderly,
 8   persons with disabilities, those who have limited access to transportation and
 9   childcare that will enable them to vote in person, overseas and military voters,
10   Native American voters living on reservations, shift workers and others who
11   cannot get to the polls within set hours, and those who are particularly vulnerable
12   to harm from COVID-19. See Winters Decl. ¶¶ 7–8; Merrill Decl. ¶ 14; Rock Decl.
13   ¶ 8; Goldway Decl. ¶ 16; Simon Decl. ¶ 12. As the former Chair of the Postal
14   Regulatory Commission notes, during this pandemic “mail-in voting has never
15   been more important to facilitate the right of individuals to safely and securely
16   participate in our democracy.” Goldway Decl. ¶ 18.
17         The Postal Service itself has warned the vast majority of States that—for the
18   first time—it may not be able to meet state deadlines for delivering last-minute
19   mail-in ballots.53 Multiple Secretaries of State and other election officials in the
20

21         52
                See also Michelle Ye Hee Lee & Jacob Bogage, Postal Service backlog
22   sparks worries that ballot delivery could be delayed in November, Wash. Post (July
23   30, 2020), https://wapo.st/3bys6g9; Brian Naylor, Pending Postal Service Changes
24   Could Delay Mail and Deliveries, Advocates Warn, NPR (July 29, 2020),
25   https://n.pr/320TiB8.
26         53
                USPS Letters to States, supra n.29 (Ex. L).

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 1   Plaintiff States have submitted declarations attesting to their concern regarding the
 2   “broad and serious injury to the voting rights” of their citizens. Simon Decl. ¶ 13
 3   (Minnesota Secretary of State); see Benson Decl. ¶¶ 4–15 (Michigan Secretary of
 4   State); Griswold Decl. ¶ 25 (Colorado Secretary of State); Merrill Decl. ¶¶ 17–20
 5   (Connecticut Secretary of State); Rock Decl. ¶¶ 24–27 (Rhode Island Director of
 6   Elections); Winters Decl. ¶¶ 10–13 (Vermont Deputy Secretary of State);
 7   Yarbrough Decl. ¶¶ 21–25 (Cook County, Illinois Clerk); Witzel-Behl Decl.
 8   ¶¶ 10–12 (Madison, Wisconsin City Clerk); Harvey Decl. ¶¶ 5–8 (Elections
 9   Director for Frederick County, Maryland); Gough Decl. ¶¶ 21–25 (Executive
10   Director of the Chicago Board of Election Commissioners). These harms include
11   late-received voter applications, voters receiving their ballots late, and delays in
12   returned ballots, as well as undercutting public confidence in voting by mail,
13   prompting voters to vote in person instead, heightening health risks. Id.
14         The Michigan Secretary of State testifies that the state and its vendors have
15   spent significant time and money ensuring that absentee voter ballot envelopes
16   meet USPS standards for Election Mail, allocating more than $2 million for the
17   purchase of such envelopes—largely at the urging of the Postal Service.
18   Benson Decl. ¶ 10. The Postal Service did not request that absentee voter ballot
19   envelopes be sent only by First Class mail as part of that process. Id. Rather,
20   Michigan’s expectation was that the Postal Service would continue to provide
21   expedited service for Election Mail regardless of class, and that increased statewide
22   compliance with Postal Service design standards for Election Mail would facilitate
23   this service—until the warning letter sent in July 2020. Id.
24         The States’ concerns about impacts on elections are well founded. For
25   primary elections held in 2020, hundreds of thousands of ballots have already been
26

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 1   rejected, including for untimely submission.54 In many States, completed ballots
 2   that are not received by Election Day are invalidated. In others, ballots must be
 3   postmarked by Election Day. In Michigan, the Secretary of State reported that “my
 4   Department has received reports from several clerks that ballots they put in the
 5   mail took several weeks to reach voters.” Benson Decl. ¶ 15 (emphasis added).
 6   Michigan, which requires that ballots be received by Election Day, had to reject
 7   over 6400 absentee ballots because they arrived after the state’s primary election
 8   day.55 In Madison, Wisconsin, Postal Service officials informed the elections
 9   administrator that ballots should arrive at voters’ residences in two to five days,
10   but “many voters have contacted the City Clerk’s Office to report that they have
11   waited around five to seven days for ballots to arrive at their residence,” and return
12   delivery back to the City Clerk’s Office “can take up to a week.” Witzel-Behl Decl.
13   ¶¶ 6–7. For Madison, in the August 2020 primary election, the number of absentee
14   ballots that arrived late and were not counted almost doubled from the comparable
15   primary election in August 2018. Id. ¶ 11.
16         Voters themselves have also reported problems with vote-by-mail. In
17   primaries conducted this August, voters in the Plaintiff States experienced
18   weeks-long delays in receiving and returning ballots, sometimes preventing their
19   vote from being counted at all, and causing some to plan to vote in person for the
20

21

22         54
                Pam Fessler & Elena Moore, More Than 550,000 Primary Absentee
23   Ballots Rejected In 2020, Far Outpacing 2016, NPR (Aug. 22, 2020),
24   https://n.pr/2Zfb81B.
25         55
                Beth LeBlanc, Benson: 6,400 Michigan absentee ballots rejected for late
26   arrival, The Detroit News (Aug. 14, 2020), https://bit.ly/3lUKqVy.

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 1   general election despite risk of exposure to COVID-19. Bipes Decl. ¶¶ 2–9;
 2   Arndt Decl. ¶¶ 2–9; Rumbley Decl. ¶ 5; Robin Thomas Decl. ¶¶ 2–12.
 3         In short, delays in delivery and postmarking caused by the “Leave Mail
 4   Behind” policy and the Postal Service’s decision to no longer treat Election Mail
 5   as First Class mail have already disenfranchised voters and will disenfranchise
 6   many more in November.
 7                                   III.   ARGUMENT
 8   A.    Standard of Review
 9         Preliminary injunctive relief is warranted when the moving party shows that:
10   (1) it is likely to succeed on the merits; (2) it will likely suffer irreparable harm in
11   the absence of an injunction; (3) the balance of equities tips in its favor, and (4) an
12   injunction is in the public interest. See Winter v. Nat. Res. Def. Council, Inc.,
13   555 U.S. 7, 20 (2008). Where the government is a party, the balance of equities
14   factor merges with the public interest. Drake’s Bay Oyster Co. v. Jewell, 747 F.3d
15   1073, 1092 (9th Cir. 2014).
16   B.    The States Are Likely to Succeed on the Merits
17         1.     The States have standing
18         The States have standing to challenge Defendants’ policy changes on
19   multiple independent grounds.
20         First, as detailed below, federal law guarantees States and other interested
21   persons the right to comment on proposed changes to the nature of postal services,
22   39 U.S.C. § 3661, a right the States were denied here. Thus, the States have alleged
23   the “deni[al of] a very fundamental right—the opportunity for a hearing on [a]
24   proposed change” to the nature of postal services. See Buchanan v. U.S. Postal
25   Serv., 375 F. Supp. 1014, 1019 (N.D. Ala. 1974), issuance of preliminary
26   injunction aff’d in part, vacated in part on other grounds by Buchanan v.

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 1   U.S. Postal Serv., 508 F.2d 259, 266–67 (5th Cir. 1975). “The denial of this
 2   statutory right [under Section 3661] is alone a sufficient injury in fact to support
 3   the requisite standing to sue.” Id.
 4         Additionally, the States have standing because Defendants’ changes harm
 5   the States’ sovereign, proprietary, and parens patriae interests. The Constitution
 6   reserves to States the sovereign power to conduct elections as they see fit.
 7   U.S. Const., art. I, § 4; art. II, § 1; and amend. XVII; see Heath v. Alabama,
 8   474 U.S. 82, 93 (1985); Voting Rights Coal. v. Wilson, 60 F.3d 1411, 1416
 9   (9th Cir. 1995) (states have “sovereign rights” to “fix the time, place, and manner”
10   of elections). States administer access to ballots, identify and administer polling
11   locations, set the times for voting, print ballots and voters’ pamphlets, and count
12   and certify ballots. See, e.g., Rock Decl. ¶¶ 2–18; Benson Decl. ¶ 2–10;
13   Merrill Decl. ¶¶ 2–12. States also hold statewide and local elections on Election
14   Day. See, e.g., Wash. Rev. Code § 29A.04.321; Md. Code Elec. Law § 8-301. The
15   Postal Service’s unlawful actions impinge on the States’ sovereign powers to
16   conduct elections by mail, in whole or in part, especially during a pandemic.
17         As extensive users of the mail for critical functions, the States also have
18   proprietary interests in the mail system. See Alfred L. Snapp & Son, Inc. v. Puerto
19   Rico, ex rel., Barez, 458 U.S. 592, 601 (1982) (like any similarly situated
20   proprietor, states have standing to pursue their proprietary interests); City of
21   Sausalito v. O’Neill, 386 F.3d 1186, 1197 (9th Cir. 2004) (government entity’s
22   proprietary interests “are not confined to protection of its real and personal
23   property” and “are as varied as [its] responsibilities, powers, and assets”). States
24   send an enormous amount of mail, from ballots to benefit payments to legal
25   notices. See, e.g., Fisher Decl. ¶¶ 4–6; Bartolomucci Decl. ¶¶ 5–7, 11–13;
26   Cully Decl. ¶¶ 5–6; Richards Decl. ¶ 8; Tousignant Decl. ¶ 6. Changes to postal

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 1   services will harm the States’ ability to send materials in a timely fashion, just as
 2   they would affect any business or entity relying on the mail for core functions.
 3         The States also have interests in protecting their citizens’ fundamental right
 4   to vote and in protecting the health and welfare of residents who depend on the
 5   availability of timely postal services for the delivery of critical items such as
 6   medications, utility bills, checks, business deliveries, legal documents, and a wide
 7   range of other time-sensitive materials.
 8         Defendants’ actions have caused or will cause injury in fact that is
 9   redressable by this Court. See Lujan v. Defs. of Wildlife, 504 U.S. 555,
10   560–61 (1992). Defendants have suggested that the anticipated harm to the States’
11   ability to conduct their elections this November is “conjectural or hypothetical,”
12   id.—but the States have established a “substantial risk that the harm will occur,”
13   Susan B. Anthony List v. Dreihaus, 573 U.S. 149, 158 (2014). And there is ample
14   evidence that other harms from delayed mail delivery already are occurring.
15         2.     The States are likely to succeed on their Section 3661 claims
16
                  a.     Under Section 3661, Defendants were required to seek an
17                       advisory opinion from the PRC prior to implementing their
                         “Transformative Initiative”
18
           Section 3661 provides that before USPS may undertake any “change in the
19
     nature of postal services which will generally affect service on a nationwide or
20
     substantially nationwide basis,” it “shall submit a proposal . . . to the Postal
21
     Regulatory Commission requesting an advisory opinion on the change.”
22
     This would have entitled users of the mail, including the States, to notice and an
23
     opportunity to comment on the proposed policy changes before they went into
24
     effect. 39 U.S.C. § 3661(c). Defendants admit they did not seek an advisory
25

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 1   opinion prior to instituting their “transformative initiative.”56 According to
 2   Defendants, they declined to follow Section 3661 because “[n]one of the
 3   operational efforts discussed here constitute such a change.”57 This conclusion is
 4   contrary to the case law, the evidence, and Defendants’ own admissions.
 5         The requirement to seek an advisory opinion applies when USPS proposes
 6   a “change in the nature of postal services which will generally affect service on a
 7   nationwide or substantially nationwide basis.” 39 U.S.C. § 3661(b). The canonical
 8   interpretation of this language comes from the Fifth Circuit’s opinion in Buchanan
 9   v. U.S. Postal Service:
10         First, there must be a ‘change.’ This implies that a quantitative
11         determination is necessary. There must be some meaningful impact
           on service. Minor alterations which have a minimal effect on the
12         general class of postal users do not fall within 3661.
13         Second, the change must be ‘in the nature of postal services.’ This
           involves a qualitative examination of the manner in which postal
14         services available to the user will be altered.
15
           Third, the change must affect service ‘on a nationwide or
16         substantially nationwide basis.’ A broad geographical area must be
           involved.
17
     508 F.2d 259, 262–63 (5th Cir. 1975) (emphasis added). “These three factors
18
     combine to demonstrate that Congress intended the safeguards of 3661 to apply
19
     only when changes of significance were contemplated.” Id. at 263.
20
           Each of these factors is met here. First, there is no dispute that Defendants
21
     are implementing significant “changes” to USPS operations. Indeed, Defendants
22
     described the “Leave Mail Behind” policy as representing “impactful changes in
23

24         56
                Letter from Thomas J. Marshall to Rep. Maloney et. al (July 22, 2020)
25   (Ex. V); Letter from Thomas J. Marshall to Sen. Peters (July 22, 2020) (Ex. W).
26         57
                Id.

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 1   our operations,” “transportation changes,” “move[ment] away from past
 2   practices,” and part of an “operational pivot.”58 Similarly, Defendant DeJoy
 3   described these “recent changes” as a part of a “transformative initiative.”59 The
 4   same is true with regard to no longer treating all Election Mail as First Class mail,
 5   which will significantly slow delivery without the Commission’s approval,
 6   affecting potentially tens of millions of ballots. In 2018, more than 31 million
 7   ballots were cast by mail;60 the November election will dwarf that number.
 8         Second, Defendants’ changes are “in the nature of postal services” because,
 9   by delaying mail delivery, they are affecting “the manner in which postal services
10   [are] available to the user.” Buchanan, 508 F.2d at 263. Defendants admit their
11   transportation changes are affecting mail service. In announcing the changes,
12   Defendants warned “we may see mail left behind or mail on the workroom floor
13   or docks (in P&DCs), which is not typical.”61 Defendants thus made their changes
14   knowing they would lead to delay. And indeed, delays have been significant and
15   widespread. USPS’s own report shows that, starting the week of July 11—the week
16   the changes were implemented—on-time ratings for mail suddenly, sharply
17   declined by around 10 percent for both First-Class Mail and Marketing Mail.62
18   While on-time rates have improved somewhat since USPS partially halted its
19

20         58
                Mandatory Stand-Up Talk, supra n.5 (Ex. A).
21         59
                Path forward, supra n.20 (Ex. E).
22         60
                Processing Readiness of Election and Political Mail During the 2020
23   General Elections, USPS Office of the Inspector General, Aug. 31, 2020,
24   https://bit.ly/2F0r6pv. (Ex. X).
25         61
                Mandatory Stand-Up Talk, supra n.5 (Ex. A).
26         62
                Service Performance Measurement, supra n.21 (Ex. F).

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 1   “transformative” changes, the on-time rate for First Class Mail continues to be
 2   around 5 percent lower than it was prior to implementation of the “Leave Mail
 3   Behind” policy.63 To put this in perspective, USPS typically delivers 181.9 million
 4   First Class mail pieces each day.64 Thus, a five percent reduction in service means
 5   an additional nine million pieces of mail delayed per day. These delays have had
 6   significant consequences for users of the mail across the country. As detailed
 7   above, significant delays and inconsistent service have been reported across the
 8   country, with new reports trickling in seemingly every day. Indeed, DeJoy
 9   admitted that Defendants’ “transformative initiative has had unintended
10   consequences that impacted our overall service levels.”65 As for the change to
11   Election Mail, the Postal Service freely admits that failing to treat all Election Mail
12   as First Class mail will lead to delays of up to eight days per ballot,66 which the
13   Postal Service also acknowledges may prevent voters from having their ballots
14   counted.67
15         Previously, when the USPS has sought to implement policies resulting in
16   longer delivery times, even delays of just one day, it has recognized the need for
17   an advisory opinion from the PRC. See Mail Processing Network Rationalization
18

19

20

21         63
                Congressional Briefing, supra n.23 (Ex. G).
22         64
                Postal Facts: One Day, USPS.com, https://facts.usps.com/one-day/.
23         65
                Path forward, supra n.20 (Ex. E).
24         66
                As explained above, the delays are actually likely to be longer even than
25   Defendants admit. See supra at p.12.
26         67
                USPS Letters to States, supra n.29 (Ex. L).

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 1   Service Changes 2012 USPS Opinion Request, No. N2012-168 (USPS request for
 2   advisory opinion for proposal “to implement changes in the nature of service,”
 3   namely, “eliminat[ing] the expectation of overnight service for significant portions
 4   of First-Class Mail and Periodicals,” “modif[ying] . . . the two-day delivery
 5   range,” and “expand[ing] . . . the three-day delivery range”); DSCF Standard Mail
 6   Load Leveling USPS Opinion Request, No. N2014-169 (USPS request for advisory
 7   opinion for proposal to delay delivery of certain types of mail by one day). The
 8   requirement is no different here: even if Defendants are correct that delays are an
 9   “unintended”—though foreseen—consequence of their changes, these changes
10   have nonetheless significantly affected mail service.
11         The mere fact that Defendants might style their “transformative” changes as
12   “management efforts”70 or part of a “strategic plan”71 does not insulate them from
13   review by the PRC or this Court. While “[c]ourts can defer to the exercise of
14   administrative discretion on internal management matters, . . . they cannot abdicate
15   their responsibility to insure compliance with congressional directives setting the
16   limits on that discretion.” Nat’l Ass’n of Postal Sup’rs v. U. S. Postal Serv.,
17   602 F.2d 420, 432 (D.C. Cir. 1979). Section 3661 clearly establishes limits on the
18   USPS’s discretion. Whatever other changes it may have authority to make, when,
19   as here, the USPS decides to make a nationwide “change in the nature of postal
20
           68
21              Mail Processing Network Rationalization Service Changes 2012 USPS

22   Opinion Request, Dkt. No. N2012-1, available at https://bit.ly/35fBlRq (Ex. Y).
           69
23              DSCF Standard Mail Load Leveling USPS Opinion Request, Dkt. No.
24   N2014-1, available at https://bit.ly/2ZgUiiV (Ex. Z)
25         70
                Letter from Marshall to Sen. Peters, supra n.56, (Ex. W).
26         71
                Path forward, supra n.20 (Ex. E).

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 1   services,” it must first “submit a proposal . . . to the Postal Regulatory
 2   Commission requesting an advisory opinion on the change.”
 3         Third, these operational changes and the delays in Election Mail have
 4   nationwide scope. As the Postmaster General admits, the transportation change
 5   will impact “any state where trucks run”: in other words, every state. Similarly,
 6   because the November election is conducted nationwide, Defendants’ change in
 7   the treatment of Election Mail will affect voters and election administration in
 8   every U.S. state and territory.
 9         Defendants therefore had a duty to submit a request to the PRC for an
10   advisory opinion prior to implementing the “transformative” changes.
11                b.     The Court has jurisdiction to require the Postal Service to
12                       comply with Section 3661

13                       (1)    The Court has jurisdiction over Defendants’
                                ultra vires actions
14
           Although the Postal Service is generally exempt from the Administrative
15
     Procedure Act, it is well established that it is subject to non-APA judicial review
16
     “to determine whether the agency has acted ‘ultra vires’—that is, whether it has
17
     ‘exceeded its statutory authority.’” Mittleman v. Postal Regulatory Comm’n,
18
     757 F.3d 300, 307 (D.C. Cir. 2014) (quoting Aid Ass’n for Lutherans v. U.S. Postal
19
     Serv., 321 F.3d 1166, 1173 (D.C. Cir. 2003)). Courts have thus routinely held that
20
     judicial review of ultra vires USPS actions is appropriate where, as here, it
21
     involves straightforward questions of statutory interpretation. See Sears, Roebuck
22
     & Co. v. U.S. Postal Serv., 844 F.3d 260, 265 (D.C. Cir. 2016).
23
           Combined Communications Corp. v. U.S. Postal Service is instructive.
24
     There, the Sixth Circuit considered a claim similar to the States’ ultra vires claim
25
     here. 891 F.2d 1221 (6th Cir. 1989). At issue was a prior statutory scheme
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 1   providing that “the Postal Service may from time to time request that the [Postal
 2   Rate] Commission submit, or the Commission may submit to the Governors on its
 3   own initiative, a recommended decision on changes in the mail classification
 4   schedule.” 39 U.S.C. § 3623 (repealed 2006).72 Nevertheless, the USPS, without
 5   input from the Commission, implemented a new regulation purporting to interpret
 6   its existing classification schedule, which plaintiffs contended effectively modified
 7   the schedule. Combined Commc’ns, 891 F.2d at 1224. The court agreed with
 8   plaintiffs, explaining that “[t]he Postal Service may not bring about a change in
 9   either rates or classifications of mail without first submitting the proposed change
10   to the Commission who in turn must issue a recommended decision to the Board
11   of Governors.” Id. at 1228. Because the regulation “effectively work[ed] a change
12   in the scope of a mail classification,” the Court held it “was ultra vires because it
13   exceeded the powers granted to the Postal Service,” and therefore enjoined the
14   regulation. Id. at 1229.
15         Like Combined Communications, this case presents a straightforward
16   question of statutory interpretation for which ultra vires review is appropriate:
17   were Defendants required to seek an advisory opinion from the PRC prior to
18   implementing their “transformative” changes? For the reasons outlined above, the
19   answer is yes. Defendants’ “transformative” changes to the USPS have caused and
20   will continue to cause a nationwide change in postal services. Mail that is supposed
21   to be delivered within set time frames is taking much longer to reach its destination.
22   Defendants acknowledged this would happen when they implemented their
23   changes, but rather than seeking the required opinion “prior to” implementation,
24

25         72
                The Postal Rate Commission was the predecessor to the current Postal
26   Regulatory Commission.

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 1   they moved forward without any input from (or even notice to) the PRC and the
 2   public. And now, as Defendants predicted, their changes have led to significant
 3   mail delays and “effectively work[ed] a change in” the USPS’s service standards.
 4   Combined Commc’ns, 891 F.2d at 1229. Having failed to request an advisory
 5   opinion from the PRC, Defendants did not, and do not, have the authority to modify
 6   mail services unilaterally. Id.
 7         In their Opposition to the States’ Motion for Expedited Discovery (ECF
 8   No. 29) Defendants suggested that even if they did violate the law, 39 U.S.C.
 9   § 3662 divests this Court of authority to review their actions. That argument fails
10   on multiple levels.
11         First, by its terms, Section 3662 is discretionary, not mandatory. 39 U.S.C.
12   § 3662(a) (“Any interested person . . . may lodge a complaint with the Postal
13   Regulatory Commission[.]”) (emphasis added); S. Cal. Edison v. U.S. Postal Serv.,
14   134 F. Supp. 3d 311, 318 (D.D.C. 2015) (“The plain language of section 3662(a),
15   contra Defendant’s portrayal, does not necessarily grant exclusive jurisdiction to
16   the PRC.”) (emphasis in original). Nothing in its permissive language divests
17   district courts of the broad jurisdiction granted to them under 28 U.S.C. § 1339
18   over “any civil action arising under any Act of Congress relating to the postal
19   service,” nor the grant of “jurisdiction over all actions brought by or against the
20   Postal Service” in 39 U.S.C. § 409(a). Thus, Section 3662 is best read as providing
21   an alternative process for postal service changes that do not rise to the level of
22   requiring an advisory opinion under Section 3661 or for those wishing to avoid the
23   burdens of litigating in federal court.
24         Second, the history of Sections 3661 and 3662 and judicial interpretations
25   of those statutes confirm that Section 3662 does not divest courts of jurisdiction
26   over claims like this one under Section 3661. In Buchanan, the leading case on

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 1   Section 3661, the Fifth Circuit explained that Sections 3661 and 3662 are
 2   “complement[ary]” and “together they form a harmonious scheme”:
 3         For those ‘changes’ which do not fall within 3661, the postal user may
 4         turn to 3662 if the change does in fact affect his postal service.
           Although 3662 is a more limited remedy, it insures that an
 5         unexpansive interpretation of 3661 will not leave remediless the
           postal user dissatisfied by changes that do not rise to the level of those
 6         covered by 3661.
 7   Buchanan, 508 F.2d at 264 (footnotes omitted). Congress is presumed to have been
 8   aware of this interpretation when it later amended these sections, see, e.g.,
 9   Lorillard v. Pons, 434 U.S. 575, 580 (1978), but nothing in the legislative history
10   of subsequent amendments suggests an intention to legislatively overrule
11   Buchanan. See, e.g., S. Rep. No. 108-318 (2004); H.R. Rep. No. 108-672 (2004).
12         Indeed, shortly after the current version of Section 3662 was enacted, the
13   D.C. District Court explicitly rejected the argument that it lacked jurisdiction over
14   a complaint regarding the USPS’s alleged non-compliance with Section 3661(b).
15   Am. Postal Workers Union, AFL-CIO v. U.S. Postal Serv., No. CIV.A.06 726
16   CKK, 2007 WL 2007578, at *7 (D.D.C. July 6, 2007). As the court explained,
17   “Plaintiff’s Complaint seeks a declaration that it is unlawful for USPS to proceed
18   with modification to its mail processing operations . . . because USPS failed to
19   submit [the proposed modifications] to the PRC for an advisory opinion within a
20   reasonable time prior to the implementation of [the modifications] . . . . Plaintiff’s
21   Complaint appears to be properly brought before this Court pursuant to 39 U.S.C.
22   § 409, which provides that ‘the United States district courts shall have original but
23   not exclusive jurisdiction over all actions brought by or against [USPS].’” Id.
24   (quoting 39 U.S.C. § 409(a)).
25

26

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 1         Although some courts have found that Section 3662 operates as an exclusive
 2   venue provision for certain types of rate and service complaints, none of those
 3   cases concerned claims under Section 3661(b). See, e.g., Ehrlich v. United States,
 4   No. 17-01245-RAJ, 2018 WL 3608404, at *2 (W.D. Wash. July 26, 2018);
 5   Erickson v. U.S. Post Office, 250 F. A’ppx 757, 758 (8th Cir. 2007). These cases
 6   turn on the notion, inapposite here, that by providing one venue (the PRC) for the
 7   types of claims at issue, Congress must have intended to exclude district courts
 8   from exercising the jurisdiction they would otherwise have. See, e.g., LeMay v.
 9   U.S. Postal Serv., 450 F.3d 797, 799–800 (8th Cir. 2006). As the LeMay court
10   noted, this is a question of Congressional intent, with evidence discerned “from the
11   statutory scheme as a whole.” Id. But nothing in the statutory scheme evinces an
12   intent to force Section 3661 complaints within the strictures of Section 3662.
13   Instead, by Congressional design, “Section 3662 complements 3661, and together
14   they form a harmonious scheme.” Buchanan, 508 F.2d at 264.
15         This Court therefore has jurisdiction over the States’ ultra vires claims, and
16   should conclude that the States are likely to succeed on the merits of those claims.
17   If the Court concludes, however, that 39 U.S.C. § 3662 restricts the Court’s
18   authority to review the States’ ultra vires claim, then mandamus becomes
19   appropriate, as detailed below.
20                       (2)   Even if ultra vires review were unavailable,
                               mandamus would be appropriate
21
           Under 28 U.S.C. § 1361, this Court has “original jurisdiction of any action
22
     in the nature of mandamus to compel an officer or employee of the United States
23
     or any agency thereof to perform a duty owed to the plaintiff.” “Mandamus is an
24
     extraordinary remedy and is available to compel a federal official to perform a duty
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     only if: (1) the [plaintiff]’s claim is clear and certain; (2) the official’s duty is
26

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 1   nondiscretionary, ministerial, and so plainly prescribed as to be free from doubt,
 2   and (3) no other adequate remedy is available.” Patel v. Reno, 134 F.3d 929, 931
 3   (9th Cir. 1997). Here, Defendants are violating a clear statutory duty to confer with
 4   the Postal Regulatory Commission before delaying mail service nationwide, and if
 5   the Court concludes that ultra vires review is unavailable, then the States have no
 6   other adequate remedy, rendering mandamus appropriate.
 7         Mandamus is appropriate to compel government officials to act when they
 8   “ignore[] or violate[]” the express mandates of a statute. Barron v. Reich, 13 F.3d
 9   1370, 1376 (9th Cir. 1994). “[T]he act to be compelled must be mandatory or
10   ministerial and not discretionary.” Kennecott Copper Corp., Nev. Mines Div.,
11   McGill, Nev. v. Costle, 572 F.2d 1349, 1356 (9th Cir. 1978). That is, it must be “a
12   positive command . . . so plainly prescribed as to be free from doubt.”
13   United States v. Walker, 409 F.2d 477, 481 (9th Cir. 1969).
14         As discussed above, Section 3661 establishes a straightforward, mandatory
15   duty: before implementing significant changes in postal service the USPS “shall
16   submit a proposal . . . to the Postal Regulatory Commission requesting an advisory
17   opinion on the change.” Nothing about Defendants’ duty is discretionary; it is a
18   mandatory, ministerial duty that they were required to undertake. See Walker,
19   409 F.2d at 481.
20         The States’ claim for mandamus relief here “is clear and certain,” Patel,
21   134 F.3d at 931, because the States have an unambiguous statutory right to compel
22   USPS’s compliance with Section 3661. Section 3661 explicitly provides for the
23   public’s right to participate in the advisory opinion process. 39 U.S.C. § 3661(c)
24   (“The Commission shall not issue its opinion on any proposal until an opportunity
25   for hearing on the record under sections 556 and 557 of title 5 has been accorded
26   to . . . users of the mail[.]”). In Buchanan, the district court decisively held that

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 1   failure by the USPS to engage in the advisory opinion process “denied” the public
 2   “a very fundamental right— the opportunity for a hearing on the proposed change.”
 3   375 F. Supp. at 1019, aff’d in part, vacated in part on other grounds, 508 F.2d 259
 4   (5th Cir. 1975). The court continued: “The denial of this statutory right is alone a
 5   sufficient injury in fact to support the requisite standing to sue . . . . The interest
 6   sought to be protected by plaintiffs, i.e., a public hearing before the Postal Rate
 7   Commission, is completely within the scope or zone of interest that Section 3661
 8   seeks to protect.” Id.; see also 39 U.S.C. § 3662(a) (“Any interested person . . .
 9   who believes the Postal Service is not operating in conformance with the
10   requirements of . . . this chapter . . . may lodge a complaint with the Postal
11   Regulatory Commission[.]”). Because the States have standing to bring a claim
12   under Section 3661 and are within the zone of interests of the statute, they have a
13   clear right to mandamus relief to enforce Defendants’ compliance with
14   Section 3661.
15         Finally, if the Court concludes that it cannot review Defendants’ actions as
16   ultra vires, then mandamus is appropriate because the States have no other
17   adequate remedy and will be irreparably harmed absent mandamus relief. Most
18   imminently, Defendants’ “Leave Mail Behind” policy and the slowdown of
19   Election Mail create an intolerable risk that mail-in ballots will not arrive in time
20   to be counted and undermine voter confidence in the election. Additionally, as
21   detailed above and further below, the States and their residents are already being
22   irreparably harmed by Defendants’ changes to postal services.
23         As Defendants will surely note, a party aggrieved by the USPS’s failure to
24   comply with Section 3661 may seek relief by filing a complaint with the PRC.
25   See 39 U.S.C. § 3662(a). But the option of administrative review does not bar
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 1   mandamus relief where such review would cause irreparable harm or be futile.
 2   See, e.g., McCarthy v. Madigan, 503 U.S. 140, 146–47 (1992) (“This Court’s
 3   precedents have recognized” that “the interests of the individual weigh heavily
 4   against requiring administrative exhaustion” where “a particular plaintiff may
 5   suffer irreparable harm if unable to secure immediate judicial consideration of his
 6   claim.”); U.S. ex rel. Rahman v. Oncology Assocs., P.C., 198 F.3d 502, 515
 7   (4th Cir. 1999) (“Although it is well established that a plaintiff must exhaust
 8   administrative remedies before seeking judicial review and that the existence of
 9   such administrative procedures will preclude the issuance of a writ of mandamus,
10   we conclude that in this case the administrative process normally available is not
11   accessible to the defendants[.]”). “This is especially true where time is crucial to
12   the protection of substantive rights and administrative remedies would involve
13   delay.” Martinez v. Richardson, 472 F.2d 1121, 1125 n.10 (10th Cir. 1973).
14         Defendants are threatening the integrity of November’s election, which is
15   only weeks away, and for which ballots are already being mailed. But by statute,
16   the PRC would not be required to even begin proceedings on a complaint for
17   90 days. 39 U.S.C. § 3662(b). And even if the PRC were to move faster than
18   statutorily required and begin proceedings on a complaint immediately, there is no
19   way the detailed procedures of a PRC hearing could be completed before Election
20   Day. See 39 C.F.R. § 3010.304(b) (identifying 17 separate deadlines the PRC
21   “shall consider scheduling” between the beginning of proceedings and a decision
22   on the merits). In short, because any PRC action would occur too late to avoid
23   irreparable harm to the November election, requiring the States to bring their claim
24   first in the PRC would leave them effectively without a remedy. Moreover,
25   election-related harms are only a subset of the harms caused by Defendants’
26   imposition of mail delays. States and their residents rely on the mail for critical,

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 1   time-sensitive resources, including medication and other benefits. They cannot
 2   afford the months of delay that would be caused if the States were required to bring
 3   their claim to the PRC in the first instance—particularly not during the COVID-19
 4   pandemic, which has only deepened Americans’ dependence on the mail as a
 5   critical lifeline.
 6          Aside from these immediate, irreparable harms, rigidly requiring
 7   administrative exhaustion also makes no sense because the States “seek judicial
 8   relief here not to circumvent the administrative process, but to compel its
 9   resumption.” Rahman, 198 F.3d at 515. The States’ request for mandamus does
10   not seek to cut the PRC out of USPS decision-making, but rather to restore its
11   rightful, statutorily mandated role. “[T]he exhaustion doctrine recognizes the
12   notion, grounded in deference to Congress’ delegation of authority to coordinate
13   branches of Government, that agencies, not the courts, ought to have primary
14   responsibility for the programs that Congress has charged them to administer.”
15   McCarthy, 503 U.S. at 145. Congress established the PRC precisely to weigh in
16   on, and facilitate the public weighing in on, the types of changes Defendants are
17   implementing. Permitting Defendants to rely on a rote application of the doctrine
18   to prevent the agency from weighing in would turn this purpose on its head.
19          3.      The States are likely to succeed on their claims that the changes
20                  at issue unconstitutionally infringe on States’ authority to
                    regulate elections and the people’s right to vote
21
            Furthermore, the changes at issue infringe on States’ constitutional powers
22
     to administer the time, place, and manner of state and federal elections and to
23
     appoint presidential electors. Pursuant to these grants of constitutional authority,
24
     the States have arranged, and in many instances expanded, mail-in voting in the
25
     recent primary elections and upcoming election. The American people, in turn,
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 1   have voted by mail in unprecedented numbers as a safe and preferred method for
 2   exercising their fundamental right to vote during the COVID-19 pandemic. Despite
 3   overwhelming evidence of the safety and security of mail-in voting, President
 4   Trump has waged a months-long crusade to undermine mail-in voting. The
 5   changes at issue escalate this crusade by creating a substantial likelihood that the
 6   States will not be able to deliver, receive, and tally ballots cast in time to be
 7   counted. The USPS itself has warned some Plaintiff States of a “high risk” that
 8   ballots will not be delivered in time to be counted, and warned others of likely
 9   delays in delivering and returning ballots. By obstructing States’ chosen method
10   of conducting elections, the changes infringe on the Plaintiff States’ constitutional
11   authority to oversee elections and to appoint presidential electors, and on their
12   residents’ constitutional right to vote. The changes should be enjoined for this
13   additional, independent reason.
14                a.     Strict scrutiny applies
15         Strict scrutiny applies to the changes at issue for two reasons. First, they
16   directly interfere with authority granted to States by the Constitution to regulate
17   state and federal elections. Second, they will have the effect of denying to many of
18   the States’ citizens their fundamental right to vote.
19                       (1)    The changes significantly interfere                   with      the
20                              constitutional authority of States

21         States have broad constitutional authority to determine how voting is

22   conducted in state and federal elections. States also have plenary constitutional

23   authority to appoint presidential electors. The USPS’s operational changes

24   significantly interfere with this constitutional authority.

25         Article I, section 4, clause 1 of the United States Constitution—known as

26   the “Elections Clause”—empowers States to determine the “Times, Places and

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 1   Manner of holding Elections for Senators and Representatives,” subject to the
 2   supervisory power of Congress to “make or alter such Regulations[.]” This power
 3   is “comprehensive” and
 4         embrace[s] authority to provide a complete code for congressional
 5
           elections, not only as to times and places, but in relation to notices,
           registration, supervision of voting, protection of voters, prevention of
 6         fraud and corrupt practices, counting of votes, duties of inspectors and
           canvassers, and making and publication of election returns; in short,
 7         to enact the numerous requirements as to procedure and safeguards
           which experience shows are necessary in order to enforce the
 8         fundamental right involved.
 9   Smiley v. Holm, 285 U.S. 355, 366 (1932); see also Tashjian v. Republican Party
10   of Conn., 479 U.S. 208, 217 (1986) (Elections Clause “grants to the States a broad
11   power to prescribe” the procedural mechanisms for holding congressional
12   elections). This broad grant of power includes authority to arrange mail-in voting
13   either by statute or through policies adopted by state officials with authority to
14   administer elections. See, e.g., Paher v. Cegavske, --- F. Supp. 3d ----,
15   No. 320CV00243MMDWGC, 2020 WL 2089813, at *9 (D. Nev. Apr. 30, 2020)
16   (emergency regulations expanding mail-in voting authorized by Secretary of State
17   complied with Elections Clause); see also U.S. Const., amend. X; Gregory v.
18   Ashcroft, 501 U.S. 452, 461–62 (1991) (“[T]he Framers of the Constitution
19   intended the States to keep for themselves, as provided in the Tenth Amendment,
20   the power to regulate elections[.]”) (citation and internal quotation marks omitted).
21         In November 2020, all States will be holding elections for congressional
22   Representatives. The Plaintiff States of Colorado, Illinois, Michigan, Minnesota,
23   New Mexico, Oregon, Rhode Island, and Virginia will also be administering
24   elections for Senators. States are also administering elections for state and local
25

26

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 1   offices, and many voters will also be presented with ballot measures. See, e.g.,
 2   Griswold Decl. ¶¶ 21–22.
 3         States have an important sovereign interest in protecting against
 4   “confusion . . . and even frustration of the democratic process,” and in ensuring
 5   that their voters who attempt to cast ballots in accordance with state law have their
 6   votes counted. Am. Party of Tex. v. White, 415 U.S. 767, 782 n.14, 786 (1974);
 7   see also Lubin v. Panish, 415 U.S. 709, 718 (1974). In this respect, the Elections
 8   Clause aligns with the “fundamental premise that all political power flows from
 9   the people.” Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n, 576 U.S.
10   787, 824 (2015).
11         With the exception of certain federal statutes not directly implicated here,73
12   Congress has largely left the administration of state and federal elections to the
13   States. Courts have likened the relationship between laws passed by state
14   legislatures and those enacted by Congress under the Elections Clause to “prior
15   and subsequent enactments of the same legislature.” Gonzalez v. Arizona, 677 F.3d
16   383, 393 (9th Cir. 2012), aff’d sub nom. Arizona v. Inter Tribal Council of Ariz.,
17   Inc., 570 U.S. 1 (2013). “The State laws which Congress sees no occasion to alter,
18   but which it allows to stand, are in effect adopted by Congress.” Id. (quoting
19   Ex parte Siebold, 100 U.S. 371, 388 (1879)).
20

21

22         73
                See, e.g., Uniformed and Overseas Citizens Absentee Voting Act,
23   52 U.S.C. § 20302 (establishing registration and voting deadlines and standards
24   for military personnel and overseas residents); National Voting Registration Act,
25   52 U.S.C. §§ 20501–20511 (expanding voter registration opportunities and setting
26   standards for maintaining voter registration rolls for federal elections).

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 1          Each of the States have used their constitutional authority to authorize mail-
 2   in voting in various forms. See Colo. Rev. Stat. § 1-7.5-104; Conn. Gen. Stat.
 3   § 9-135; 10 Ill. Comp. Stat. 5/19-1 et seq.; Md. Code, Elec. Law § 9-304;
 4   Mich. Comp. Laws § 168.759; Minn. Stat. §§ 203B.02, 204B.45; Nev. Rev. Stat.
 5   § 293.309; N.M. Stat. § 1-6-4; Or. Rev. Stat. § 254.465; R.I. Gen. Laws § 17-20-1;
 6   Vt. Stat. tit. 17, § 2543; Va. Code § 24.2-707; Wash. Rev. Code § 29A.40.091;
 7   Wis. Stat. §§ 6.20, 6.85(1).
 8          The Constitution also vests States with plenary authority to appoint
 9   presidential electors. Article II, Section 1 provides, in relevant part, that States shall
10   “appoint” electors “in such manner as the Legislature thereof may direct[.]” The
11   Supreme Court recently affirmed that States’ authority over the appointment of
12   presidential electors is plenary and includes the right to bind electors to the results
13   of popular elections in States. Chiafalo v. Washington, 140 S. Ct. 2316, 2328
14   (2020). Each of the Plaintiff States, like all other States, have vested this
15   constitutional appointment power in the people of their respective States by tying
16   the appointment of presidential electors to the results of their State’s popular
17   elections.74 By creating tangible obstacles to the delivery and return of ballots, the
18   operational changes compromise the integrity of these popular elections and
19

20          74
                 Colo. Rev. Stat. § 1-4-301; Conn. Gen. Stat. § 9-175; 10 Ill. Comp.
21   Stat. 5/21-1; Md. Code, Elec. Law § 8-504; Mich. Comp. Laws § 168.43; Minn.
22   Stat. § 208.02; Nev. Rev. Stat. § 298.065; N.M. Stat. § 1-15-4; Or. Rev. Stat.
23   § 248.360; R.I. Gen. Laws § 17-40-10; Vt. Stat. tit. 17, § 2731; Va. Code
24   § 24.2-202;      Wash.     Rev.      Code     § 29A.56.320;      Wis.       Stat.     § 8.25;
25   see   also     Nat’l     Archives,    Electoral    College:    About        the     Electors,
26   https://www.archives.gov/electoral-college/electors (last visited Sept. 8, 2020).

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 1   thereby unconstitutionally interfere with States’ power to appoint presidential
 2   electors by popular election.
 3         Voting by mail has become an integral part of statewide presidential
 4   elections. Even before the pandemic, certain Plaintiff States, like Washington,
 5   Oregon, and Colorado, had established vote-by-mail as the primary method for
 6   voting in state and federal elections.75 In other States, Americans have come to rely
 7   on vote-by-mail in light of the health risks posed by the pandemic. And in response
 8   to COVID-19, some Plaintiff States, like Nevada and Vermont, will send mail-in
 9   ballots to all registered voters for the 2020 general election. States have built their
10   vote-by-mail systems around the Postal Service’s longstanding performance
11   standards and treatment of Election Mail in accordance with First-Class mail
12   delivery standards. See Rock Decl. ¶ 22; Griswold Decl. ¶¶ 13–16.
13         Delays in postmarking and delivering ballots will inevitably lead to voters’
14   ballots being rejected. This interferes with the rights of the Plaintiff States to
15   administer elections and to appoint presidential electors through the electoral
16   processes that they have adopted. Worse, the changes at issue have imposed these
17   delays without sufficient time for States to adjust legal requirements and
18   messaging to the public about deadlines for returning ballots.
19         The interference with the manner of state elections is amplified by the
20   COVID-19 pandemic. Given the health risks posed by the COVID-19 pandemic,
21   many voters do not have other options for exercising their most fundamental right
22   to vote other than to vote by mail. As a result of the pandemic, record numbers of
23   voters will likely vote by mail. See supra at pp. 3–4, 21–22.
24

25         75
                See Colo. Rev. Stat. § 1-7.5-104; Or. Rev. Stat. § 254.465; Wash. Rev.
26   Code § 29A.40.091.

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 1         The operational changes thus interfere with the constitutional authority of
 2   States to control the manner of elections—including vote-by-mail procedures—by
 3   disrupting timely mail delivery on the eve of a general election.
 4                      (2)    The operational changes create substantial burdens
 5                             on the right to vote

 6         The operational delays also significantly interfere with the rights of the

 7   States’ citizens to vote. The right to vote is “fundamental,” Tashijian, 479 U.S. at

 8   217, and “preservative of all rights,” Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886).

 9   See also Hadley v. Junior Coll. Dist. of Metro, Kansas City, Mo., 397 U.S. 50, 56

10   (1970) (holding that equal protection “requires that each qualified voter must be

11   given an equal opportunity to participate in that election . . . .”). Defendants’

12   actions will interfere with the right to vote because they will result in delays in

13   postmarking and delivery of mail and in numerous ballots thus not being counted.

14         The USPS’s recent policy changes will slow delivery of Election Mail,

15   including ballots. States adopted elections systems with vote-by-mail

16   components—including establishing deadlines for mailing ballots and creating

17   guidance for voters—based on USPS’s longstanding practice of treating Election

18   Mail “on the level of First Class mail.” See, e.g., supra at pp. 11–14; Benson Decl.

19   ¶ 10; Griswold Decl. ¶ 13. Ending that practice will cause USPS to take much

20   longer to deliver Election Mail, including ballots. See Goldway Decl. ¶¶ 10–12.

21   The Postal Service’s “Leave Mail Behind” policy will also delay Election Mail, as

22   mail that would otherwise have been loaded on trucks for processing or delivery is

23   left behind and delayed for one or more days. Yao Decl. ¶ 7; Puhalski Decl.

24   ¶¶ 9–10; Anthonasin Decl. ¶¶ 14–21; Hartwig Decl. ¶¶ 5–7.

25         These changes will affect States and voters whether the State measures the

26   timeliness of a ballot by when it is received or when it is postmarked. To begin

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 1   with, Defendants have acknowledged that the changes will affect voters in nearly
 2   every State who seek to register to vote, to change their registration, or to request
 3   an absentee ballot close to the election.76 In States that require that ballots be
 4   postmarked by Election Day, the “Leave Mail Behind” policy will mean that even
 5   if a ballot is timely placed in a collection box or outside a person’s home for
 6   delivery, it may not arrive to a processing facility in time to be postmarked. See,
 7   e.g., Yao Decl. ¶ 7. And this policy will have even more pernicious effects in States
 8   that require that ballots be received by elections officials by a specific time on
 9   Election Day. See Colo. Rev. Stat. § 1-7.5-107(4)(b)(II); Conn. Gen. Stat.
10   § 9-174(a); Mich. Comp. Laws § 168.764a; Minn. Stat. §§ 203B.08(1), (3),
11   204B.45-.46; N.M. Stat. § 1-6-10(C), (D); Or. Rev. Stat. § 254.470(6)(e); R.I. Gen.
12   Laws § 17-20-2.1; Va. Code § 24.2-705; Wis. Stat. § 6.87(6). In these States, even
13   if mail is timely transported to a processing facility, (1) even a minor delay in
14   processing at the facility could preclude the mail from being loaded onto a truck
15   for timely delivery to election officials, and (2) even a minor delay in transport
16   from the processing facility to the station could result in mail carriers being
17   required to leave for delivery before the processed ballots arrive. In either situation,
18   ballots that were deposited in the mail with sufficient time for delivery under USPS
19   standards will be late and rejected.
20         Delays in delivery by the USPS are already widespread, as detailed above.
21   See supra at pp. 8–10, 17–24. In primary elections held around the country so far
22   this year, hundreds of thousands of ballots have already been rejected, including
23   for untimely submission.77 In Michigan, which requires ballots to be received by
24

25         76
                USPS Letters to States, supra n.29 (Ex. L).
26         77
                Fessler & Moore, supra n.54.

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 1   Election Day but where many sorting machines have been removed—which likely
 2   compounded the delays caused by the policies at issue in this motion—over 6400
 3   primary ballots were rejected as untimely.78 Combs Decl. ¶ 5; Puhalski Decl. ¶ 4.
 4         In sum, the circumstances establish that the burden imposed by the USPS’s
 5   operational changes—made on the eve of a general election during a global
 6   pandemic—is severe. They interfere with the rights of the States’ citizens and the
 7   States’ own constitutional authority. There is a very real danger that otherwise-
 8   valid ballots will go uncounted as a result of a late postmark or late delivery directly
 9   attributable to USPS’s unlawful policy changes.
10                        (3)   The severe burdens on State and individual rights
11                              warrant strict scrutiny

12         The combined interference with the constitutional authority of States and

13   with the fundamental right to vote requires application of strict scrutiny. The

14   operational changes impose a severe burden on States’ administration of elections

15   and chosen mode of appointing presidential electors, and courts regularly apply

16   heighted scrutiny to restrictions that threaten significant disenfranchisement of

17   voters. See, e.g., Obama for America v. Husted, 697 F.3d 423, 436–37 (6th Cir.

18   2012) (enjoining an Ohio statute that shortened the early-voting period for the

19   general population but not for military personnel); Libertarian Party of Ohio v.

20   Blackwell, 462 F.3d 579, 588 (6th Cir. 2006) (striking down ballot restriction that

21   unfairly and unnecessarily impeded access to ballot); Common Cause/New York v.

22   Brehm, 432 F. Supp. 3d 285, 311 (S.D.N.Y. 2020) (finding New York’s refusal to

23   provide list of “inactive voters” unconstitutional where thousands of individuals

24   are “improperly disenfranchised—and thus suffer perhaps the greatest burden a

25

26         78
                LeBlanc, supra n.55.

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 1   state can impose on a voter” and others face “substantial delay” in voting);
 2   Fla. Democratic Party v. Scott, 215 F. Supp. 3d 1250, 1258 (N.D. Fla. 2016)
 3   (extending registration deadline in aftermath of hurricane where close of
 4   registration would disenfranchise significant number of voters who would be
 5   “stripped of one of our most precious freedoms”). As one court aptly explained:
 6   “This isn’t golf: there are no mulligans.” Scott, 215 F. Supp. 3d at 1258. The right
 7   to have one’s vote counted in an election, if lost, cannot be remedied.
 8          Given this context, the burdens imposed by Defendants’ policy changes are
 9   no mere inconvenience. Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 205
10   (2008). They instead pose an immediate and dire risk of disrupting the States’
11   administration of elections, and by threatening the disenfranchisement of
12   thousands of citizens these policy changes are likely to cause grave harm to public
13   confidence in the election. These combined circumstances warrant application of
14   strict scrutiny.
15                       (4)   The discriminatory nature of the operation changes
16                             also requires strict scrutiny

17          Strict scrutiny is especially appropriate here because a growing body of

18   evidence suggests that the operational changes were motivated, at least in part, by

19   a desire to secure a political advantage for the President and his party. See, e.g.,

20   Anderson v. Celebrezze, 460 U.S. 780, 792–93 (1983) (“[I]t is especially

21   difficult . . . to justify a restriction that limits political participation by an

22   identifiable political group whose members share a particular viewpoint,

23   associational preference, or economic status.”); see also Harper v. Virginia State

24   Bd. of Elections, 383 U.S. 663, 668 (1966) (holding voting limitations based on

25   wealth, race, creed, and color “are traditionally disfavored”).

26

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 1         The President has repeatedly made clear that he views voting by mail as a
 2   threat to his reelection.79 The President has falsely and repeatedly attacked
 3   vote-by-mail as creating “Tremendous potential for voter fraud,” and as leading to
 4   “the greatest Rigged Election in history,” “a free for all on cheating, forgery and
 5   the theft of ballots,” and “THE END OF OUR GREAT REPUBLICAN
 6   PARTY.”80 He has also declared that election results must be announced the night
 7   of Election Day, though not all votes will have been processed and counted.81
 8   Suggestions to curtail the counting of ballots in the days after Election Day are
 9   particularly concerning where States, such as Plaintiff States Michigan and
10   Wisconsin, cannot process mail-in ballots before Election Day, and where polling
11   suggests that more of the President’s supporters will plan to vote in person but
12   voters identifying as Democrats plan to vote by mail.82
13
           79
14              See Amy Gardner & Josh Dawsey, As Trump leans into attacks on mail
15   voting, GOP officials confront signs of Republican turnout crisis, Wash. Post
16   (Aug. 3, 2020), https://wapo.st/31WozE5.
17         80
                Donald J. Trump (@realDonaldTrump), Twitter (Apr. 8, 2020, 5:20 AM),
18
     https://bit.ly/2DCbac2 (Ex. AA); (May 24, 2020, 7:08 AM), https://bit.ly/3bNSfbb
19
     (Ex. AA); (May 28, 2020, 6:00 PM), https://bit.ly/2FklJRq (Ex. AA); (May 27,
20
     2020, 4:11 AM), https://bit.ly/3jU1eu2 (Ex. AA).
21
           81
22              Donald J. Trump (@realDonaldTrump), Twitter (July 30, 2020, 1:22 PM),

23   https://bit.ly/2GGvzxZ (Ex. AA) (“Must know Election results on the night of the
24   Election, not days, months, or even years later!”).
25         82
                A poll of Wisconsin likely voters found a partisan difference in plans to
26   vote by mail or in-person. See Marquette Law School Poll (Aug. 11, 2020)

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 1         Moreover, the COVID-19 pandemic has disproportionately impacted
 2   particular minority communities that tend to vote for Democratic candidates.83
 3   Measures that discourage mail-in voting and require voting in person, with the
 4   attendant risks of contracting COVID-19, thus may be intended to discourage
 5   people from voting who are unlikely to support the President.
 6         These concerns, rooted in the President’s own statements, are amplified by
 7   the Postal Service’s departure from its normal procedure in making these changes,
 8   suggesting that “improper purposes are playing a role.” Vill. of Arlington Heights
 9   v. Metro. Hous. Dev. Corp., 429 U.S. 252, 267 (1977); see also Arce v. Douglas,
10   793 F.3d 968, 977 (9th Cir. 2015) (identifying factors such as the specific sequence
11   of events and the departure from normal procedures). The Postal Service departed
12   from its usual procedure in two ways. First, as detailed above, the Postal Service
13   declined to follow the procedural requirements of Section 3661, which would
14   otherwise have delayed implementation of these changes. And second, it rushed
15   these changes into effect immediately before an election, contrary to its ordinary
16   practice of avoiding changes immediately before an election. See, e.g., USPS
17

18

19

20   https://bit.ly/2ZiyNOt (67% of voters who identified as Republican planned to vote
21   in person, compared to 27% of Democrats; and 55% of voters who identified as
22   Democrats planned to vote by mail, compared to 15% of Republicans); see also
23   Alexa Corse, Biden Supporters More Likely Than Trump’s to Vote by Mail, Poll
24   Shows, Wall. St. J. (Aug. 17, 2020), https://on.wsj.com/3bAfWn7.
25         83
                Ron Elving, What Coronavirus Exposes About America’s Political
26   Divide, NPR (Apr. 12, 2020), https://n.pr/35fMQs4.

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 1   Postal Bulletin 22342, at 14 (July 26, 2012)84 (suspending USPS network
 2   consolidations from September through December “[d]ue to the volume of
 3   high-priority mail predicted for the election as well as the holiday mailing
 4   seasons”); USPS Postal Bulletin 22449, at 4, 5 (Sept. 1, 2016) (announcing that
 5   “plans [were] in place from coast to coast to ensure the timely receipt, processing,
 6   and delivery of election and political mail” in response to concerns regarding
 7   service standard changes made in 2015).85
 8                b.    The policy changes do not further a compelling government
 9                      interest and are not narrowly tailored

10         The operational changes cannot survive strict scrutiny because they do not

11   further a compelling government interest and are not narrowly tailored. The USPS

12   has not publicly identified any compelling interest supporting its changes, much

13   less how these changes are narrowly tailored to serve such an interest. Any asserted

14   interest in some fiscal savings or efficiency gains is not compelling. See, e.g.,

15   Schlemm v. Wall, 784 F.3d 362, 365 (7th Cir. 2015) (“Saving a few dollars is not

16   a compelling interest . . . .”); see also Duguid v. Facebook, Inc., 926 F.3d 1146,

17   1156 (9th Cir. 2019) (expressing skepticism that “protecting the public fisc is a

18   compelling interest”). Even if financial interests could in some circumstances be

19   compelling, here Postmaster General DeJoy testified to Congress that the USPS is

20   not at risk of running out of funding at any time through the November 2020

21

22

23         84
                USPS Postal Bulletin 22342 (July 26, 2012), available at
24   https://bit.ly/2RiePzf (Ex. BB).
25         85
                USPS Postal Bulletin 22449 (Sept. 1, 2016), available at
26   https://bit.ly/3imYMMt (Ex. CC).

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 1   election.86 The former Deputy Postmaster General, Ron Stroman, also observed
 2   that whatever slight financial benefit USPS would gain from these changes is
 3   outweighed by costs of making such changes during a pandemic and on the eve of
 4   the general election.87
 5         In short, there is no compelling interest that justifies the USPS’s
 6   unprecedented interference with the constitutional authority of States to administer
 7   elections or the rights of voters to have their votes counted.
 8   C.    The States Will Suffer Irreparable Injury Absent an Injunction
 9         Injunctive relief is appropriate because the States have shown, on behalf of
10   themselves and as parens patriae protecting the health and well-being of their
11   residents, that “irreparable injury is likely in the absence of an injunction,” Winter,
12   555 U.S. at 22 (emphasis in original); M.R. v. Dreyfus, 697 F.3d 706, 728 (9th Cir.
13   2012) (to show likelihood of injury, moving party “need not further show that the
14   action sought to be enjoined is the exclusive cause of the injury”).
15         As an initial matter, the deprivation of procedural protection is itself
16   irreparable harm. “The denial of . . . a [Section 3661] hearing, should one be
17   required, is sufficient irreparable injury to support interlocutory injunctive relief,
18   for it is clear that no hearing will be conducted and that the changes will continue
19   unless enjoined.” Buchanan, 375 F. Supp. at 1022, aff’d in relevant part, 508 F.2d
20   at 266 (“[T]he District Court was correct . . . that plaintiffs had properly
21

22

23         86
                House Testimony, supra n.5 (01:08:57–01:09:10 of video) (USPS fiscally
24   viable through August 2021).
25         87
                See Peter Granitz, All Things Considered, NPR (Aug. 20, 2020),
26   https://n.pr/31TPVvH.

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 1   established that there was a substantial threat of irreparable injury” as necessary to
 2   warrant preliminary injunctive relief.).
 3         As users of the mail, the States have suffered and will suffer direct harms
 4   resulting from the frustration of their ability to administer mail-in voting in the
 5   upcoming election, as well as the administration of benefits and other state
 6   programs relying on prompt mail service, including the mailing of notices
 7   governed by statutory deadlines. Secretaries of State, election officials, benefit
 8   program administrators, and other state officers have testified to the cascading
 9   harms they will experience—and have already experienced—from these harms.
10         Widespread voter disenfranchisement is also precisely the type of
11   irreparable harm that calls for injunctive relief. See, e.g., Sanchez v. Cegavske,
12   214 F. Supp. 3d 961, 976 (D. Nev. 2016) (“It is clear that abridgement of the right
13   to vote constitutes an irreparable injury.”); Cardona v. Oakland Unified Sch. Dist.,
14   Cal., 785 F. Supp. 837, 840 (N.D. Cal. 1992) (“Abridegment [sic] or dilution of a
15   right so fundamental as the right to vote constitutes irreparable injury.”); Obama
16   for Am., 697 F.3d at 436 (“A restriction on the fundamental right to vote . . .
17   constitutes irreparable injury.”).
18         Failing to issue an injunction will also cause irreparable harm to the health
19   and well-being of millions of residents across the States. This includes veterans,
20   persons with disabilities, and vulnerable or homebound people being subjected to
21   significant delays in receiving lifesaving medications. See supra at pp. 17–18.
22   Harms such as “pain, infection, amputation, medical complications, and death due
23   to delayed treatment” are clearly irreparable. Harris v. Bd. of Supervisors, Los
24   Angeles Cnty., 366 F.3d 754, 766 (9th Cir. 2004). The same is true with regard to
25   the hundreds of thousands of residents who rely on timely receiving public benefits
26   and associated notifications through the mail. “[R]educed access” to public

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 1   benefits affecting food assistance and housing support is an irreparable injury to
 2   the persons it affects and to the States’ ability to promote their financial security
 3   as well as the health and wellbeing of their residents. Washington v. U.S. Dep’t of
 4   Homeland Sec., 408 F. Supp. 3d 1191, 1221 (E.D. Wash. 2019). Mail delays also
 5   will have a devastating impact on small businesses that are more reliant on delivery
 6   than ever before. Although private “[e]conomic harm is not normally considered
 7   irreparable,” see California v. Azar, 911 F.3d 558, 581 (9th Cir. 2018), the total
 8   loss of a business can suffice, because a small business, once gone, has no means
 9   of recovering what they have lost via money damages alone. See Doran v. Salem
10   Inn, Inc., 422 U.S. 922, 932 (1975); Am. Passage Media Corp. v. Cass Commc’ns,
11   Inc., 750 F.2d 1470, 1474 (9th Cir. 1985) (threat that company might face
12   bankruptcy or be driven out of business may constitute irreparable harm). And the
13   States’ loss of tax revenue from businesses that fail is irreparable. See Washington
14   v. Trump, 441 F. Supp. 3d 1101, 1126 (W.D. Wash. 2020).
15         In sum, the States have shown a significant likelihood of irreparable injury
16   to the States and their residents absent an injunction.
17   D.    The Balance of Equities and Public Interest Strongly Favor the States
18         The balance of equities and the public interest strongly favor injunctive
19   relief. Because this lawsuit involves the government, these inquiries merge.
20   Drake’s Bay Oyster, 747 F.3d at 1092. As detailed above, the States have shown
21   likely irreparable harm to their ability to administer elections and provide public
22   benefits, and to their residents’ ability to vote and receive time-sensitive mail, from
23   life-saving medications to legal notices to benefit checks. Further, Congress has
24   recognized that residents of the States have an interest in “ready access to essential
25   postal services” and “the most expeditious collection, transportation, and delivery
26   of important letter mail.” 39 U.S.C. §§ 101(e), 403(b)(3). This “judgment of

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 1   Congress, deliberately expressed in legislation,” deserves special consideration in
 2   determining the public interest. United States v. Oakland Cannabis Buyers’
 3   Co-op., 532 U.S. 483, 497 (2001) (quoting Virginian Ry. Co. v. Sys. Fed’n No. 40,
 4   300 U.S. 515, 551 (1937)).
 5         These injuries far outweigh any temporary harm to Defendants from a
 6   preliminary injunction. Defendants cannot plausibly claim harm by adhering to
 7   policies and practices that have been in place for years. See Washington v. Trump,
 8   847 F.3d 1151, 1168 (9th Cir. 2017). Although reducing expenses is a reasonable
 9   objective, it cannot justify harms to the States and their residents when the USPS
10   has acted unlawfully. See, e.g., Obama for Am., 697 F.3d at 434 (State’s asserted
11   interest in reducing administrative burdens did not justify burdens on voters). Even
12   if an injunction might “temporarily frustrate” the USPS’s ability to reduce costs
13   while it addresses how to eliminate “unintended consequences” on “overall
14   services levels,”88 that temporary delay does not outweigh the very strong public
15   interest here. See Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013). Moreover,
16   it is in the public interest to “curtail[] unlawful executive action.” Hawai’i v.
17   Trump, 859 F.3d 741, 784 (9th Cir. 2017), vacated on other grounds by Trump v.
18   Hawai’i, 138 S. Ct. 377 (2017) (quoting Texas v. United States, 809 F.3d, 134, 187
19   (5th Cir. 2015)). Likewise, “it is always in the public interest to prevent the
20   violation of a party’s constitutional rights.” Melendres v. Arpaio, 695 F.3d 990,
21   1002 (9th Cir. 2012) (quoting Sammartano v. First Judicial Dist. Ct. in & for
22   County of Carson City, 303 F.3d 959, 974 (9th Cir. 2002)); see also Gulf Coast
23   Mar. Supply, Inc. v. United States, 218 F. Supp. 3d 92, 101 (D.D.C. 2016) (“The
24   public interest is served both by ensuring that government agencies conform to the
25

26         88
                Path forward, supra n.20 (Ex. F).

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 1   requirements of the APA and their own regulations . . . .”). In short, in weighing
 2   the competing interests, including the public interests, the balance tips sharply in
 3   favor of preliminary relief.
 4   E.    Nationwide Injunctive Relief Is Necessary and Appropriate
 5         The harms caused by Defendants’ unlawful changes to postal services are
 6   nationwide, and injunctive relief must be nationwide. The very purpose of the
 7   Postal Service is to help “bind the Nation together,” 39 U.S.C. § 101(a), and to
 8   serve “as nearly as practicable the entire population of the United States,”
 9   39 U.S.C. § 403. Consistent with that mission, the Postal Service delivers vitally
10   important time-sensitive mail across state boundaries in massive volumes every
11   day. The Plaintiff States therefore seek nationwide relief.
12         “[N]ationwide or other broad injunctions are appropriate when necessary to
13   remedy a plaintiff’s harm.” E. Bay Sanctuary Covenant v. Barr, 964 F.3d 832, 855
14   (9th Cir. 2020). “The scope of injunctive relief is dictated by the extent of the
15   violation established, not by the geographical extent of the plaintiff class.” Id.
16   (quoting Califano v. Yamasaki, 442 U.S. 682, 702 (1979) (alternation marks
17   removed)). The Postal Service’s changes to the nature of postal services are
18   substantially nationwide in scope. Delays in one state affect deliveries to other
19   states, as documented in both declarations and other evidence in this case.
20   See Olsen Decl. ¶¶ 3, 6 (Washington resident relying on mail order prescription
21   service based in Portland); Stembridge Decl. ¶ 3 (80% of business’s orders are sent
22   out-of-state); Hall & Wisniewski, supra n.15 (postal trucks departing empty for
23   cross-country travel). Even focusing narrowly on Election Mail, many absentee
24   ballots are printed in one state and mailed directly to voters in other states, either
25   because of the location of the printing company the State uses or because a voter
26   needs an absentee ballot because they are temporarily out of state. See, e.g., Rock

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 1   Decl. ¶ 16 (Rhode Island’s mail ballots printed in Everett, processed in Seattle,
 2   delivered to Boston, then trucked to Rhode Island); id. ¶ 17 (sending out-of-state
 3   to college students and military voters); Robin Thomas Decl. ¶¶ 3–4. Limiting
 4   relief to the Plaintiff States would not fully redress their harms.
 5         Nationwide relief is also needed to provide complete relief to the Plaintiff
 6   States for the procedural harm they have suffered: deprivation of the right to
 7   comment on broad-based changes before implementation. 39 U.S.C. § 3661.
 8   Allowing these “transformative changes” to take effect in much of the country
 9   while the PRC considers whether they should be allowed to take effect would
10   render the legally required notice and comment process a farce. The purpose of
11   notice-and-comment requirements is “to ensure that affected parties have an
12   opportunity to participate in and influence agency decision making at an early
13   stage, when the agency is more likely to give real consideration to alternative
14   ideas.” State of N.J. Dep’t of Env’t Prot. v. U.S. Env’t Prot. Agency, 626 F.2d 1038,
15   1050 (D.C. Cir. 1980) (quoting U.S. Steel Corp. v. U.S. E.P.A., 595 F.2d 207,
16   214–15 (5th Cir. 1979)). Permitting comment after a change has taken effect “is
17   no substitute for the right of interested persons to make their views known to the
18   agency in time to influence the [decision] making process in a meaningful way. . .
19   . ‘We doubt that persons would bother to submit their views or that the [agency]
20   would seriously consider their suggestions after the regulations are a Fait
21   accompli.’ ” U.S. Steel, 595 F.2d at 214–15 (quoting City of New York v. Diamond,
22   379 F. Supp. 503, 517 (S.D.N.Y. 1974)) (collecting cases); see also Buchanan, 375
23   F. Supp. at 1019 (USPS’s unilateral implementation of nationwide change “denied
24   [users of the mail] a very fundamental right—the opportunity for a hearing on the
25   proposed change”).
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 1         Absent a preliminary injunction to restore and preserve the status quo ante
 2   nationwide, the Plaintiff States’ ultimate remedy—compelling USPS to fulfill the
 3   procedural requirements the law requires—would lose much of its meaning.
 4   Cf. D.C. v. U.S. Dep’t of Agric., 444 F. Supp. 3d 1, 49 (D.D.C. 2020) (“[D]enial of
 5   nationwide relief at this preliminary stage could make it less likely that the
 6   plaintiffs get complete relief . . . in the end”). Nationwide preliminary relief is
 7   necessary to provide complete relief so that the States will not be left without a
 8   meaningful remedy.
 9                                 IV.   CONCLUSION
10         For the foregoing reasons, the Court should grant a preliminary injunction
11   as detailed in the States’ attached proposed order.
12         DATED this 9th day of September, 2020.
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 1                            DECLARATION OF SERVICE
 2         I hereby declare that on this day I caused the foregoing document to be
 3   electronically filed with the Clerk of the Court using the Court’s CM/ECF System
 4   which will serve a copy of this document upon all counsel of record.
 5         DATED this 9th day of September, 2020, at Tumwater, Washington.
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